FILED
CHARLOTTE. NC.

IN THE UNITED STATES DISTRICT COURT O2FEB-! PM tu: 17
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION or 0! ma ae COURT

Civil Action No. 0a - CV 8 “VY ‘a

GREAT SOUTHERN LIFE INSURANCE
COMPANY,

Plaintiff,
Vv.

ANGELA D. ADAMS; ANNIE L. ADKINS;
NELLE L. BALDWIN; TYRONE D. BANKS;
THOMAS I. BEAN; AUDREY G. BEASLEY;
MABEL S. BECK; JAMES PAUL BECK;
MABEL BECK; PECOLA W. BLACKBURN;
OPAL |. BOYD; JAMIE Y. BROWN:
CORINNE F. BRUTON; DEBRETTA
BULLOCK; DEBRA P. CARDEN; VANESSA
M. CARTER; VALERIA M. CEASAR:
PHYLLIS B. CHISHOLM; SUZANNE J.
CLEARY; JOANNE COLEMAN; LISA A.
COLLINS; JEANETTE S. COX; MARIE
CROTTS; VANESSA J, DANIELS; BEANIE
T. DAVIS; JERRY W. EVANS; LULA G.
FOOTE; LAWANDA 8S. FOOTE; LAWANDA
FOOTE; LA DONNA M. FRENCH:
KEWANEE E. FROST; TONI B. FULK;
MONTALDO D. GOLDEN; STEPHANIE B.
GOODSON; LISA A. GORDON; RICKY
GREENE; ROSILAND N. HAIRSTON;
CHRISTINE F. HALL; AVON HAMMONDS,
MARY WOOLEN HANOLT; ROBERT
HANOLT; RICHARD HARTMAN; SUSAN
C. HARTMAN; LAURA A. HENSON;
LAURA HENSON; ELIZABETH A. HICKS;
CARLOS HICKS; JACQUELINE R. HILL;
SHELBY J, HOLDEN; JACKIE D. HOOTS;
VERNON GRAY HOOTS: SHIRLEY N.
HOOTS; GRACE M. HORTON; DOROTHY
M. HUTCHENS; DIANN S, HUTSON;
NEDRA W. JACKSON; THOMAS L. JAMES:
DOROTHY FRYE JONES: TRAVIS ASHLEY
JONES; CHRISTEN S. JONES: ESTATE OF

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Case 3:02-cv-00048-RLV-CH Document 1 Filed 02/01/02 Page 1 of 85 4
NETTIE R. JONES; DEBBIE C. JOYCE: )
BEULAH JOYCE; KIMBERLY A. KILGORE; )
PERCY E. KNIGHT; CATHERINE H. )
LAMBRETH; LENORA W, LASH: )
CHARLES A. LEAK: BESSIE J. LEE; NINA ___ )
B. LEE; KAY H. LUTHER; MARILYN )
MALCZEWSKI; FELICIA A. MARLIN: )
YVONNIA K. MARTIN: JAMES A, )
MARTIN; DEBRA W. MCBRIDE; LINDA D. _ )
MCCORKLE; VIRGUS L. MCCORKLE: )
WANDA L. MCEACHERN; MARGARET J.)
MEANS; KAREN R. MESSER; TERRIEL. _)
MESSER; WILLIE M. MIDDLEBROOK: )
VICTOR A. MOODY; JANET L. MULLINS: _ )
EVELYN H. MURPHY; DENORRIS C. )
NICHOLS; KIMBERLY A. PEACOCK: )
RUBY PIERCE; VIRGINIA M. PIKE: )
ADLINE E. POTTER: DIANNA S. )
PRATHER; JOHN EDWARD QUIGLEY: )
LILLIAN F. RAWLINSON; BETTY H, RAY: _ )
ESTATE OF ELLIS T. REID; ELLIST. REID )
JR; ANN RICH; GLENN A. RICHARDSON; __}
JUDY A. RICHMOND; RICKY D. ROBBINS;  }
TRACY Y. ROBINSON: WELBERT )
SALLEY; RHONDA M. SAUNDERS: }
ANGINITA SNUGGS: MARY SUE )
SPAINHOUR; ANN R. STEELMAN: )
SHARON D. STEWART; DERWIN TERRY; __)
WANDA MABE TILLEY: WILLIE 0, )
TOLLIVER; ELIZABETH TOWNSEND: )
KATHY S. TRANSOU; ALLEN L. )
TRANSOU; JAY W. TRIVETTE; ELLEN W. __)
TUCKER; JOE G. VODENICHAR: ANDREA _ )
S. WADE: CAROLYN L. WAGNER: ROSE)
MARY WARD; WANDA K. WATSON: )
DAVID K. WEBB; MARION P. WEST: )
SHARON E. WESTMORELAND: DOROTHY _ )
F. WISHON: KATHY B. WOOD; JOSEPH N. _ )
WORRELL, )

)

)

Defendants.

 

COMPLAINT FOR DECLARATORY RELIEF

 

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Great Southern Life Insurance Company ("Great Southern") files this Complaint for
Declaratory Relief, and respectfully shows as follows:
I,
PARTIES

l. Great Southern is a life insurance company incorporated under the laws of the
State of Texas with its principal place of business in Texas.

2. The Defendants are all present or former Great Southern policyowners who are
citizens of the State of North Carolina and who purport to have opted out of the settlement class
certified in /n Re Great Southern Life Insurance Company Sales Practices Litigation, MDL No.
1214, in the United States District Court for the Northern District of Texas (the "MDL
Proceeding") and who have indicated to Great Souther in connection with or subsequent to their
opt-out request that they are represented by legal counsel.

Il.
JURISDICTION AND VENUE

3. The Court has subject matter jurisdiction because there is complete diversity and
the amount in controversy exceeds $75,000, exclusive of interest and costs. See 28 USC.
§ 1332 and § 1367.

4, The Court has personal jurisdiction over each of the Defendants because they are
all residents and citizens of the State of North Carolina.

5. Venue in this district is proper under 28 U.S.C. § 1391 because: (i) several of the
Defendants reside in this district; (ii) a substantial part of the events or omissions giving rise to
the disputed claims occurred in this district; and (iii) all the Defendants are otherwise subject to

personal jurisdiction in this district.

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FACTS

 

6. The Defendants are all present or former owners of one or more universal life
insurance policies or excess interest whole life insurance policies issued by Great Southern since
January 1, 1982. As such, they were all members of a nationwide class that was certified in the
MDL Proceeding by the Honorable Joe Kendall on or about March 14, 2000, as amended by
order dated June 13, 2001.

7. In the nationwide class action, the plaintiffs alleged that Great Southern engaged
in a scheme to breach its policies of insurance and defraud its policyowners through certain
alleged misconduct, including:

a. allegedly failing to compute the interest credits, mortality charges, and
expense charges in accordance with the terms of the class policies;

b. allegedly designing and pricing the class policies in such a manner that
Great Southern either knew or should have known that the policies would
not perform as allegedly promised by Great Southern;

Cc, allegedly misrepresenting and failing to disclose certain material
information regarding Great Southern's interest crediting rates, mortality
charges, and expense charges with respect to the class policies: and

d. allegedly engaging in other misconduct as alleged in the Consolidated
Second Amended Class Action Complaint attached hereto as Exhibit "1."

Great Southern has denied, and continues to deny, each of these allegations of misconduct.
8. On or about April 6, 2001, Great Southern and the lead counsel for the nationwide

class executed a proposed class-wide settlement. Under the terms of the proposed settlement,

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class members who did not wish to settle were given the opportunity to opt out of the nationwide
class.

9. Upon learning of the proposed settlement, attorneys across the country, including
certain attorneys in the State of North Carolina, began running a series of television commercials
and print advertisements soliciting class members to opt out of the nationwide class and engage
their firms.

10. Apparently in response to these opt out solicitations, the Defendants and over
1,200 other present and former Great Southern policyowners purported to opt out of the
nationwide class and notified Great Southern that they had retained legal counsel to represent
them.

11. On or about January 14, 2002, Judge Kendall signed an order approving the
nationwide class settlement and dismissing with prejudice the nationwide class action. The
Defendants, however, have purported to opt out of the nationwide class and, therefore, assert that
they are not bound by Judge Kendall's dismissal order. Thus, a dispute continues to exist
between Great Southern, on the one hand, and the Defendants, on the other hand, as to whether
Great Southern has any liability to the Defendants with respect to the allegations described in the
Consolidated Second Amended Class Action Complaint attached hereto as Exhibit "1." This
dispute is continuing and ongoing, and it is ripe for resolution by this Court.

12. All conditions precedent to this action have occurred or been waived.

IV.

CAUSE OF ACTION

 

13. The allegations in paragraphs |-12 are incorporated by reference.

14. Pursuant to 28 U.S.C. § 2201 and any other applicable rule or law, Great Southern

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requests that the Court issue a declaratory judgment that:

a. Great Southern's practices and procedures for crediting interest and
deducting mortality and expense charges on the universal life and excess
interest whole life insurance policies owned by the Defendants do not
violate the terms of those policies; and

b. Great Southern has no lability to the Defendants with respect to the
matters alleged in the Consolidated Second Amended Class Action
Complaint attached hereto as Exhibit "|."

15. Alternatively, in the event that the Court concludes that the joinder of all the
Defendants in this action is impracticable, Great Southern requests that the Court: (i) certify the
Defendants as a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure: (ii) appoint
one or more of the Defendants as a class representative; and (iii) issue the declaratory relief
described above.

WHEREFORE, Great Southern respectfuily requests that the Defendants be cited to

appear and answer herein and that, after hearing or trial, the Court issue a final judgment:

a. declaring the rights of Great Southern and the Defendants, as set forth
above;
b. awarding Great Southern its attorneys' fees, expenses, and costs of court to

the extent permitted by applicable law; and
€, awarding Great Southern such other and further relief to which it is justly

entitled.

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This the 1 $f day of February, 2002.

Cuma Tarot
Curtis J. Shipley
State Bar No. 19276
MOORE & VAN ALLEN, PLLC
Bank of America Corporate Center
100 .N. Tryon Street, Floor 47
Charlotte, NC 28202-4003
Telephone: (704) 331-1000

ATTORNEYS FOR GREAT SOUTHERN
LIFE INSURANCE COMPANY

OF COUNSEL:

EDWIN R. DEYOUNG
Texas State Bar No. 05673000
ROGER B. COWIE

Texas State Bar No. 00783886
DAVID G. CABRALES
Texas State Bar No. 00787179
LOCKE LIDDELL & SAPP LLP
2200 Ross Avenue, Suite 2200
Dallas, Texas 75201-6776
Telephone: 214/740-8000
Telecopier: 214/740-8800

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IN THB UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISURLUL OF Teas
DALLAS DIVIS.OK

In ve CREAT SOUTHERN LIFB INGURANCE § MDL Locket No. 1e14

COMPANY SALES PRACTICES LITIGATION

Relazing to

 

IRWIN GIONSBERG,
Placi tiff,
vs.

GREAT 3CUTHERN LIFE INSURANCE
COMFANY, AMERTCO LIFE, Ik.

Te eridants .

 

TEAAC NORMAN,
Plaintiff,
vs,

GREAT SQUTMRRN LIFE INSURANCE
COMPANY, AMERTCO LIFE, INC.

Dofandancs.

 

HASRIET ©, MANN,
plaintiff,
Vo.

GREAT STUTHFPN TTFE INSUSANCE
COMPANY, AMERICO RIFE, INC_

Defendant.

 

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Case Ne. 3. 98-CV-LOL7-X

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va. 5
§
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COMPANY, AMERTCO LIFE, INC. g
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Detendant. § wlaintiffs Derand &
$ Trial By Susy

PLAINTIPPS: [PROPOSED] CONSCLIDATED SECOND AMENDou
CLASS ACTON UCOMPLAINT

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GREAT SOUTHBRN'S PIDUCIARY CUTTY AND RELA CTONSHI® OF TRUST
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¢, The Solicitation And Sale Of lgaac Norman's Policy <7

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IX. INCURY TO VRE CLASS - © 6 2 ee ee ee ee ee 45
KR. LASS BOTTON ANLMRGATIONS 2.006. ee ee ee ew ee AB
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A. FIRST CALSE OF ACTION
(Breach of Comtraot} . . . . ee ee ee BM

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C, THIRD CAUSH OF ACTION (Fraud, reuculen,
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(Unjust Enrichment) Soe BK

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G. SEVENTH CAUSE OF ACTION

(Neglicent Supervision) 2. 6 ee ee 68
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Piainciffs bring this action in their individual capacities
ard om behali of the Clase defined below, aad fer their Second
Anended Complaint against deleonsant Great Southern Life Insurance
Company ("Great Southern" or the e-mpany*) allege, upon knowledge
as to Liemselvyes and their own acts and otherwise upen cnformetion
end beliet pased on plaintiffe' investigation Lo date, as follows:
L. JUZISAICTTON AND VENUE

Ll. Thig Court has jurisdiction over plaintiffs Ginsberg,
Mam and Maseey pucacedl to 28 U.E.C, $§1332 and 1267. PB.aintitt
Norman initially Ziled his case in the bistrice Courr of Jasper
ounty Texas and was removed to Fefleral Court cn Great Southern's
mokion assexting jurisdiction undor the employee xetiremen Income
sacuricy AGT, 28 U.S.C. §1001, el seq. Plalntifts are citizena of
tke States of Floride, Texas and Alabama. Qeafendant Grea: Southern
is a Texas corporation with its principsl place of business in
Delias. The anount of plaintalis' damages exceece $/5,990, as
peaintitfis lest more chan $75,000 (exclusive of interest and costs)
‘yn insazance coverage, premiums, cividende, interest, andfar
accumlared cash values as 2 direct aud proximate result of the
deceptive scheme and common courgc of conduct aleged hare. The
amount in centroversy also exceedr $75,000 by virtue of the
punitive damagee, attexneys! feas, cesta and squirable relief
requested in which all plaintiffs and Class Mempere nave a commer
and undivided interest in such amaunrs based on Great Southern's

fvaudulent and wrongful conduct ae described here.

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za Venue in this distri. is pursuant to the Transfer Order
af the Judicial Panel on Multidietrict Litigalicn, Dockers No. L214,
dated on of aboun May 5, 1938, eengclidating various eorions
pending against Great Soutaern thresghour the United States.

It. THE FARTIBG

3. Harriet D. vann is a citizen and regidenc cf the Stace af
Plorida. fr 1987, as discussed in 977-78 below, Ms. Mann
purchased a Greal Senthern life insurance poliey with an icitial
face amount of S5100,000.

2,  wvladinriff trwin Ginsberg ig a citizen and rasidenc of the
Slate of Florida. In 1985, as digeusred in 4479-84 below,
Mr. sinsberg purchase} - Great Southern life insurance volicy witn
an initial lace value of $200,000.

g. Plaintiff tseac Novran i2 a catizen and resident of ihe
Sin ue of Texas. In 1096, ag discussed in 9925-89 nelow, Mr. Norman
purchased a Great Souchern life insurance policy with an iniris2
face value of $300,000, inmeuring the life of his wite, Pranceas
Normwen.

G. Plaintitt Yvonne K. Massey is a cihizen anc veaident of
the State of Alabama. Mu, Massey owned o 650,000 Great Southern
whole life policy iseued in 1980. In 1482, a6 discussed mos: tutly
‘n §f90-93 below, Great Southern convinced Ms. Massey cA sus render
her 1989 caliey and to purchase a aaw Great Southern life ingirance
policy with an initial tace valve oF $90,000.

7. Defendant Great Gouthern ie s stock life tnsuranuce

corpany, ¢riginally incarporaled in Texag in 1909, wita lle main

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adminietrative offices in Dallag, Texas. Great Sonthern is a
waclly cwned subsidiary of United Fidelity Lite Ineursnce Company,
waich ic, in turn, a wholly owned subsidiary of Amerion Tife, Toe,
("Amezloco*}, Greeal Suuthern is Americo's leading lite insurance
company and primary maracting arn,

8. Grear Sourmern has over che Dillion dollexs in assets,
and Gearives the buik of ite premium income through the marketing
acul sale of universe? life insurance amd otnes interest sensitive
life insurance preducta, Great Southarr. markets ard sells its lite
insurance policies in 46 staces and the District of Golumkia. The
Company uses a nationwide network ot general and soliciting agents
and marketing exganizations waich iL Girects and trains in selling
ita progucts throeuch manuacg, acminare, product bulletins, sales
materials and Policy illustratian suftware Cesigned, approvec and
cisseminated by Great Southern,

“. All ef the products gcidé by Great Sourhern are desiuned,
underwritten and issued from Greaz foeuthern's neadquarvers in
TEXAS The key decisions regarding predeck design, pricing
nasumpiions, product cevelopment and marketing are made in Great
Southera's headquarters dn Temas. Fur.her, sales sresentations,
Poliay illugtrationa and other intormation used in the sclicitation
and sale of Pelictes to the public, imeluding hardware and software
uged to generate such mararials are prepared, approved and provided
by Great Southern f£rom its Dallas effices, Thos, sll of the

wrongful contucl ir suappart of Gras Souldieon's uoiform nationwide

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nseptive echama and common course of conduct emanates from Great
Somthern's headquarterg in Texac.
TIT. CREAT SCUTHERN'S NATIONWIDE DECEPTIVE SALES SCHEME

lo. Beginning in the early 19805, interest ratea reached
record higks. Great Southern Zaced massive losses of ceapiral as
policyowners began to take mcuey from their life inaursnce policies
to invese in financial vehicles providing much Higher rates af
return. AD che game cime, Great Southern was facing fierce
compeliiicr in the life insurance maxket from new, aggressive
competitors, #4ch #6 the mow defunct Exuculive Life, whach were
promising double-digit yiclds on their whole life policies, Fnelec
by investments in hich risk junk bonds and other speculative
investments. Cempanisa such am Au. willians, anc later,
Trumerica, were aggressively encouraging policyowness Co Surrezésr
thei: Lradlitonal whole life insuranee peliciee to "buy term and
anvest the difference. "

lt. In an effort to stem ¢hig bide and to capture the high
interest rates for compatitive advarilaye, Great Southern deviscd
and implemented a scheme to regain its competitive pesitien in the
life insurance maxkerplace. Greal Seuthern bean bo design,
intreduce and market new, comolex, eMesee interest whole }ife and
universal litle insurance products and acquized. assumed or
purchased thrcugh reinsurance gucn policies issued by other life
insurante companies (the “Policica" or "Policy"}. vhase Policies
were highly leveraged. volatile aad excremsly sensitive co changos

an Prevaliing interest rates and sther pricing assumpliaus.

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12. Tn Bhear innereast-semsilive Policies, the policyowner
paye a epaeitied premium. From that premium, the company deducts
re age Ss Commissinis, sales charges, certain monthly éeductions,
mortality and other costs of inturance. Great Southern then
eredits the excess premium to ithe Policy's account value end
investa :t din various financial instrumence. Great southern
credits a nortion of the aarned lutereslk on this excess premiun
back into the Policy. Great gouthern quarantess that the interest
eredited will mot fail below a tintium jtnhereat rate, nanaddy
between 3.0-4.5%. Incerest highsr than the quaranteed amount is
eredited to che Policy pursuant oto lhe Leeus af the Po" icy.
Inkercsk credited to the Policy ond coSte of ineurance are key
elements Im determining how a Policy will perform -- 3.e., how much
money will be credited to account valucs which will be abla to
accrue interest and other earnings. Fee ocminal changes in these
values con have o dramatic impnet on Policy performance. -

13.0 By (he negipning of 1853, Greel Southern initiated its
acheme by using a number of dacephive galcs practices to induce
prospective pelieyowners toe purchase its products, iacluding the
"vanishing premium’ and solicy pezformance saleg practices, ite

retirenent/:nvestmeni. rales poectice, and a replacement sales

 

For instance, in 1¢és, accoxding to Greet Southern, Lhe
prejected account vatue on 4 $800,600 face value Lifeatire Lize
solicy at the interest rate of 10%, differed from tann at $# on
the save prejiium paymante by over S7UO,UGU -- the projeeredé cash
value dropped nearly Lheee suarters of «a willie: dollars with
enly 2 one percent drop in itnterest rates! Great Seuthern never
explained the risks sf this volatility to prespactive
policyowners.

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praeiige. These sales practices tocusted primarily on promises of
Policy pexformanca in terms of cash values, cash accumlation,
and/or rhe mumber of out-of-packet premium paymants requirad to
maintain the Polioy throughout its life.

i4, Under Great Suyuliern's vanishing premium and policy
performance scaleé practices, Great Saurhern marketed volatile and
highly joleresi-sensitive Policies by illustrating that a single
lump sum premium payment made at the time oo sale, or 4 specified
nurber of premiums made during che initial years ef the Policise,
would se sufficient te mointain tha Policies for lie lives of che
insureds with no further wul.-cé-pocket cash premium payments. wath
ctais premium schedule, Groat Souvhearn promised Lhal. ihe Policies
would provide substantia’ cash surreacer values in later years and
level or increaaing denth banetats. Altarnatively, Great. SouLhercn
Srowised that, based on lavel preniu payments agqreéd upon at tha
time of sale, the Colicies would remain in force during the
Policyowner's life, varuing the illustrated death beneftite anc cash
valuas over the life of the Policise.

iS. an one permurarian of this policy performance saleg
practice, Great feuthcrn warxerad its prodosis, hased on
AV1es rable policy peesformance, as ideal retiroment ox investment
vehicles. Great southern would corpare Lhese life insuranes
policies to mutual fuads, Individual Retirement Accouncs, 401 (k)s
or Cerrificares of Menosit. -- dewuplaying che fast thac tht procues
keing puranased wae merely a life insurance produc: arn] failing te

disclose that a substantial portion of the premiums would nec ga

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toward an investinenk avcoucr, but would sc used to pay commissions
and mortelity charges to purchase insurance.

45. In Marketing its Policies, ‘sereover, Great Southern
Failed to disclose to policyowners, or disclosed only in the most
vague, unintelligable and builerplats terms, the baoio machanios of
these cornlex products, that maintaining premiums 4) hie
illustrated lavale and the ability of cash values fo acerue as
represented depended heavily upen a series of actuarial
assumptione, including interest earned on the Company's investment
puslfulio, the manner in which Great fouthern allocated that income
acress policy groups as interesr and/or: dividends. the Company's
marLality experience ox “anticipated cxperience," and expences.
Great Southern also failed cs Aisclose thal its investment
port follo was very tisky, its agl¢ing company was pighly leveraged
and that Great Seutharn's Eznancial veinsirance tepayment
ailigations were substantial, cach interfering woth Grear
Southerr's ability to maintain the #eliries as represenlLed and
Uromeisett

17. Great Southern alsc used these gonhisrinated produats
impremeriy to upgrade its business by eneouraging policvowners [9
replace tieir existing life insurance uriulucts. whether issued by
Great Southern or somecte else. with Great Southern's new intezesr-

sensilive products.? Great Souihern represented to policvowners

2 This sales practica is frequently called "churning, "

"improper replacement," "twisting." ox "“piggybacking, "
"Twisting" ic normally used in the lite insurance industry to
refer to = sirmation where sesh value is removed or BuLLedered

yo.

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thac they could purchase new Policies with increased death benefits
and cash accumulations by rapping inco the accumiatad values of
theiy exiscing Policies thrauyh surrenders, the woo of the dividend
cr interest streams, or Policy leans, to pay the premiums on the
mew Policy. Great Southern promised that the palicyoawsér would ger
two Peligios for the prica of one, ar than the uew replacement
Poliezes would nay higher interest rates endfor dividends and
increasec c#ath benefits with fow, if any, additional out. -aF-gnckst
pramium payments.

18. <n its replacement practice, dreat Soulhern did not
disclose, Rowever, Lhal Lhe ebility of the existing colicy te pay
for the new Policy dopended on the ability of the replacing ee Licy
20 Paeriorm as representer, Great Southern also failed to dieclosa
shat the policyowner would be eubjece to subscanticl usw sales
loads, surrenders fees, «alministrative charges, Policy fees,
interest irom Policy !oane and other acquisition ccsts on she new
Policy. Great sourhern reve: informed prospective pedicyowners
that he or she must pay large sales commissions an chs new Policy,
sometimes as high «as 200% of the first yaar annual premium.

~9. Polleyewners could net know Jbl Grear Southern's

promised policy ssrfesmance ana varnish Gates would fail. chat the

 

from an existine Policy issued by sunther company through meanc
of deweption anc used to acquire a new Policy. The texm
"piqgqyoaching" da normally used wrare cagh value ie renwivend From
a Folicy and used toa anquire anorber Policy issued by the sane
Guugely. Insurance companies sometimes cuphemistically razer to
geme or a.l of theos practices as "Linanced life insurance.“
These practices are prohibited by stabute ar common law in ¢very
oblate,

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brojected eash valuce could mr be attained and chal pireinium
payments beyond those specified wouid eventually be required. Even
if policyawners uncéerstoad chat inlerest rates on finaneial markets
generally were charying, they had no way af knowing either the
deematis impact ot those changes on their Dolioies, nor rhe Fact
that Great Southern was, after the sale, adjusting the atated
cred Led interest rate and cost of insurance downward so thac the
Policice would never pes fora as promised.

20, Great Southern gold its Policies by oroviding pctential
polacyowners with sales presentations and compyl-er yernevated Policy
jVlustrations demonstrating in volunnar format how tha voliey would
perform. whe Company even developed end introfuced interactive,
ruliimedia sales preacntation software Lo assist its agents in new
wife ineurance seles. All seles presentations ard ulher marketing
m terials uged in connection wi... the sale of Great courhern's
ingurance products, including computey software used te generate
policy illustrations, wore developed, approvec, and dieseminates hy
Creaz Southern.

21, Great gouthern knew thar the sales materiale provided Lo
its agents failed to disclose materisl facts vuecessary Zor the
prespective policyouner ta mekre an informed purchase der sion.
Grearc Southern failed. however, to aducate or train its agente To
insuré chan proper disclosures wore made ft prospective
policyowners about the material rinks and speculative assump ious,
and policy design features underlying the Policies. Indeed, the

bases for and operation af defendant's actuarial manipulatiqus were

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known only tc a liandful of key officers and cendultante at
éafendeul’s hame office. Creat Southern never revealed Lhis
information tc ite agents or its policyowners.

33. Great Southern's contracts of insurance contain express
wrovicions which spell uur how interest crediling rates and coste
of dng@irauce ~- beth key factors in the performance of a policy --
will he deteymineé. For inLerest crediting revez, Great Goutnern
promised that rates would pe determined phased on the Company's
“expectation of Furure itheresk ratca.! Great Southern’s Policis
alen shaled that cost of insuzance reles woulc be based cn the

Company's "expectation at to future mortality experience."

23. In 77s second phase of deJencant’s aehera, once the
wiospective policyowner was "hooked" i.a@., had purchased a
Telicy -- in an stfort te increase their cwn pxrofite, Great

Suuthern continuougly and uniformly breached thes¢ express Folicy
previsions by hesing their doterminacion cf interest crediting
cakes and costa of ingurance om numerous undisclosed faclurs and
pricing assuuptions olhs: than or in addition to the factors
specified in the Policy language. Great Southern manipulaled its
interes. crediting vatea and other fachura on the basis of the
Company's desired cormperitive position by using - host ¢f
undisclosed actuarial maninulataens, including direct recognition,
Tiret year "Teaser" rates illuatyated over the life ul the Policy,
hen-Guarantecd persistency bonnses, undisclesed charges in interest
rale margins, esaumed improvements in murctality, ¢cxpenses ancl

investment experciecce, improper imposition of rhe LAC tax and use

+ 10 =

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of aw undisclosed "R-Factor." Using these artifiees, Great
Sourrern than eredited tower interest Faces and hicher costa of
insurance than its @tated “curren rate" or than represented in irs
oa_@e materials ax: Poticy jliustrations.

24. As more and nore of the Policies sold pursuant f9 Great
Soutnern's eales sete failed, Grast Scullier affirmatively
senceaJed the failures of the Poliuies to perform as promised.
Winecn policyowners would question Creat Souther: 's demand for
Addillenal premiums, Great gouthern ttd them that the request was
a computer arrer and jusi. fo ignore if. When il cxmld ae longer
concsnl Lhese failures, Croat Southern demanded thet pelicyawners
either pay additional prewiums to maintain their @ulicies or
forfeit Lhe,

26. Great Southern's scheme hag qenersted millicus af dollars
of profits for Qyeat Goutnern. Plzini iris and Clase Members,
however, have been placed in the untenabic position of heving te
choose heiween vaying premiums tor which they veither bargained ner
Budgeted, attempring to mainnain Policioc whese perforuance hae
deteriurated dramatically and will mever achieve the levels
prom.sed, anc wnhoge costs, contrary te the aqreament, have soared,
or Allowtuy their Folicies to lapse. Greal Southern's response a
bails diiewna hat Deen to blame policyowners tor being naive enough
rot te know of those undiecloged malerial facha and their impact. on
the Policies; o: to believe thet the sales presentationa, marketing
maceriais and Policy (llustlvacions Great southern provided were

accurate and truthful; or co assure that Great Southern wouls

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Operate in accorcance with rhe exoress terms of its Policies,
Plaintiffs ard Class Merbers will now be forved ro pay millions ot
dollarg in out-of-pocker premiums they never agreed, budgeced cr
expected fo pay. Plaintitis and Class Members must also vay
interest on Policy joans they wever agreed to or were aware of.
Moreover, plaintiffs and Claag Members heve lost. and/or face the
prospect cf loging millions of Collars in death bonafice, cash
values, accumilated account values and surrender charges due to
their inability ov unwillingness Lo wake additional payments. Many
Class Merbers heve now becote uningurable and will be unakle to
ahtain additional dnourance. Willeut the esuitable and other
reliel requested in this Second Ancnded Complaint, plaintiffs end
cae Class will suitex irreparable hare.

4. Great Southercn's Deceptive Policy Parformance,
Retirement. And Vanishing Premiwt, Sales Practices

26. In Great Southorm‘e policy performance and retirement

sales practices, prospective policyowners wera Qdiven sa'es

presentations demonstratiana how the Policy's values desth
cenclits anc cash accurular‘ons -- would grow fer each year of the
Policy's life and the schedule of pretiims necessary to sustain

rhose values. These projectec values wore based on the een
thet the secumulated dividends andfer inlerast and other credits
won suslelu Lue Policies.

¢7. Great Sourhern's vanishing premivn payment Plan was liesed
O1 a4 Similay concept with an additionel twist, Thera, Great

Southern represented that a limited and specified number of premium

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Payments in the Pelicy's initial Yeara would be sulficient to
Sustain the Policy over its Gntire life. Attar < epecitied number
ar OVL*aFepuckat Payments, the pxremious would “vanisa_" Ax ty Lhe
POLlCyY pertormance gales prectice, thic vanishing premium practices
was bzsed or rhe concep: Chat 211 premiiue athe: the "vanish year"
would be paid <rom AcCUMULated dividenda and/or interest ang other
credits, the Borrander of paiderop additions, bolicy loans, internal
borrowings or gore combination ct thaca .- but onset the
pol: eyownar's Mb -aF-pocker cash.

<8. At the heart of Oreat Soutnern'r natienwida fraudulent
schene was tra antviry ro make ire Polizies annear rn perfor
better than there OF its competitere in ite galeg materiale, Tr
effece, Greel BSeultern soled ibs Pulicles by Plvibisig Policy
performance and varie Gates that it xrew would rot he sustained
over the 25-46 year cdfe af tie Solicy, based cn the volatility of
its pricing arsumptions ang its own product deéign. Chore promices
became part of Lie conmlrach of insurance,

29. Great southern acnieved this apparently “enhanced!
performances by failing te disclose the actuarial manipulations
buill into the Po.lcy design that, once tha Pclicy was ssld, acted
fo reduces interest erediting rates end intrease the <cests G2
‘ns urance ae¢tuaiiy applied te the Pelicy. Great Southern knew at
the time it sold its interest -sensitive Policies to pleintiffs and
the Class thaz its Folteies weuld nee and could nor be oredited

wit Sufficient values to vanich or to perferm ag illuszrated --

~23-

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h

they weve never designed to, Thus, from day one ot tha Policy's
Life if wouid not and could not perferm as promised.

3°. Great Bowlers need these actuarial manipplakiong te
adjust these rates downward at its own Giscretion in order to
enhance prefits. For instence, in designing these nsw volatile
Policies, Creat Southern prososed building in a suhstant:al
inerease i ibe ow. ineeres’ mazgin beginning in tac gixtk year of
the Policy -- in seme esses by 75-100 basis Polite. Rees 1? Great
Soulkeru's declared currenr interest Grediting rate nover changes,
this manipulation had the etfect of reducing the policyouner’s
erfective interesr cradired ta -4e Polley begiming in vear six.
This effective vecuctisn in the intereat ercditing rate could have
a dramatic @ifect on the Polfey's cask values ax a result of the
loss of interese compcunded over tre Lite of the Policy, Weicher
this element of poliey Geeign, nor its impact was ever disclosed te
Creal Suulllecu's ayents or policyowners.+

Jl. Great Southern also used a hybrid marhod of erediling
interest. For same Producta, Crest Seuthorn would Fay toe hicher
hew Money rate for the inicial Policy years, then switch to the
lower portfolio rate for the subsesuent years. Great fovtuern,
however, would prolact Poliey perflersanve of vanish dates to

prespective policyowners aa it the high carly year rate epplied For

a

In ozdar to induce potential policyowners to susoghase the
policy, in ite roliay illustrations, Great Southern would
illustrate Policy performance at Fh initial rate fer che life ot
the Policy, never disclosing the ettective rats raduation aftar
vear six.

- id

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the entire life of the Policy, in essence, Weing an undiselesed
“Teaser” rate.

32. Under the concept of "direct recognition, « Crcat Southern
systematically manipylated the interest Creditine rate a Policy
would receive wien the policyowner took a loan against the Policy,
“reat Southern di¢é not infesm plaintiffs and Class Members thar
Policy loans, coupled with Great Southern's direst recognition
practice, would signizicantly affect rolicy Féerformance (and the
vanishing premium meciamism cf their Policy] substantially
increasing tha rember of yeers is would take for the bremlumg to
“vanish,” or reducing the acceurt values!

33, IN designing and pricing thege new preducrs, creat
Scuthern else improperly assumed « aigh level of peraistency
bemuses (honugea said on 2olicies that remain in force for 2
eertain aanbes of years). Persistency bonuses have been widely
concemneé by regulatere and industry critics. Great Scuthern ales
iatluded these Peisiacency bonuses in its sales materials to allow
fc re dliuscrare at an enhanced, bur unachievable, crediting rate
aa part of its fraudulent inducement of Folicy ownera ts purchase
these produete.

3*. In addition, in abeue 1991 Grea Southern improperly
began assessing a "deferred acquisition cosr, « commonly re Cerca bog
ae the "DAT Tax, ! againer theses volicias. In breach of its Poliny

rr

‘ While Great Southern's policy stated that direct xecogniticn
would apply, it never Meaningfully explained to pellcyowners the
impact of rie reduced interest Crediting rate applied to the
Poliey on the Policy's performance o- vanish date,

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Frovisions, Great Southern passed shia tax en te policyownere in
Part by decreaging the interes: crediied to the Policies by 1/4
Percent or by increasing Policy cost of insurance ratee and sales
loads.

39. Beginning in approximately 1266, defendant introsuced the
"Rovactor," eneoifioslly designed es an undisclosed adjustment ta
the coet of insurance in order to masmtain a particular
predetermined profiz mardin. The R=Paccor Operaced Lu exbrach the
sulk of Great Scuthern's profits in the first ter, yeare oi the
policy's lite, which is generally the period when wos. Pobicios
lepse.* The R-Facter is a function of the age of the ingurcd and
the residual amount accrued in che Policy's cagh coum Telion
account, Mechanically, the R-Paector operated on tae pol-ey's

ccount Values in 4 matmer to redune the Comoeny os Nek Boeiid, als
Risk. a key factor in dececmining wertality charcea. Oxrcat
southern used the k=kzetar te Gigguige Ths true cosh of insurance.
Throughout she Class Period, as Creat Couthern experienced etunning
intréeages in mortality, vather chan raise rhe cost of insurance
(which would impect gelea), the Company woulda adiust the
undisclosed R-Factar. Grent Seithern'e® use of the B-Faelor "ike
Gireet recoywnition, has the ctreect et penalizing ineurede who have

withdrawn some af their cash VAlue. Use o& che R-Pactor allowed

 

> Contrary to conventional wisdom, the majority ot life

insurance Polictag a4 not vesuls in a dearh hanefit being pain,
Rat instead, are lapsed or otherwise terminated in the early
Yars of the Policy.

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Teal Southern to illuetrate policy parfornance which appeared to
greatly outperform its colpetitere ,

36. Great Seuthern alge TManipylered irs investment
porzfolios. Great Fouthesn employed undisclosed itvestment
Tanagement concepts euch ae the New Meney Method. For YEara Great
2oucaern had used the eo-called “pertfolio" method to determine the
investments cemponent o£ credited interesc retes. x5 dniterest
rates rose dusing the zarly 19895,. Great Southern changed its
interest ore@iting mathodoloyy and began ugirg the New Money
Methed. The New money Methcoc magnifies the risk and volatilicy of
the intereg: crediting and dividends the Policieg Would actually
reecive.® Under the New Money Method, each premium goller received
on a perticular poliey series is "pooled" and pleced into =
separate investment "buckst," ‘The "POOLS" axe concentrated in
invesemencs such zs Morkgages which are extremély sensitive co
antercst rate fluctuations such that even incremental reductions in
marke: interes> rates esyld dramaticaliv affect the div-dends ant
interest tayable on the Policies. Great Southern failed to
Gisclese thar af Antentianally alrernsvec bherwear *nVearment

methodologies depending on which method would best enhance its

re,

. the New Mcnevy Metiiod is a methed of crediting Policy

interest on each now promium with an interest rate consictent
with wal os then avaliable in the investment Market, ft
allocates investment earnings tobe separate funds received during
a given time period baaed cr investments Made durire that time
period, When dnterasr rates wera nigh or yleing as in the early
to mid-1980s, New Money-haged predicts i) logtraved xesults that
were reprecanted te be superior to portfolic-based products. This
ik Vecause fllusrracions assumed the New Money rate woud always
romain at that higher level coubared bo Lhe porcfolia rate.

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compen tive position, at the expense of Policy performance or the
riske agsociated with these poliates.

a7. With regard to Great gouthern'a investment portfelic
uncex.ying its products, tke Company did mot disclose thar 4
aUshenidal portiou of iis investments were comprised of highly
risky and volatile below-investinanz grace konds, (sn-called "junk
Londs"), and collateralized mortgage obligationa {"OMOs"! that ars
extremely volatile te interse: rate fluctuations. For example,
A.M. Best, an industry rating peblicetion company, notes that
relatively large percentage of Croat Southern's frond Portfolio ig
Pivesier) ia CMOs ant Wor lyageehackerd securities (approximately 51%
of the total bord portfolio). Although soma of thaga investments
dare in the less risky Wlasses, chere is some exposure to the higher
risk, unrated "2" and vegidual classes which augments Great
Southern's expssure to interest vise in fs portfelia. During 1397
chose "2" elasa investments reprecenced nearly but of Great
Boe heen bene Basile Sloe, Finally, Americc was higsly,
loveraced with both public and private debt, gervica of waich
signi (icantly COnetrainegd Grea Soulherrn's capi halizetion, cash
flow and operations,

B, Greak Snuthernts Rreeapti ve Replacmmumnol Tales
Fractice

$4. isreat Southern algg engaged in svstematic imprope>
replacemenc or charming of policyaswers' Folicies. The term
"churning" ¢descxibes the practice of impraperly dapleling the

aveurulated cash value from af existing life insyrance poltey

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(either by surrender of cash values or by borrowing against the
cash value} to acquire a new insurance Policy or annuity.

39. For replacements, Great Southern promised that the
policyowner would receive a new or additional Policy with greater
death benefits or cash values for a specified level of out-of-
pocket premiums or al no additional cost.

40, Great Southern uniformly failed to Snform olaintiffs and
Clasg Members, however, that they would loge supstantial cash
values and accumulation values in their existing policies, be
required to pay new and significant commission charges, he subject
to new contestability clauses, ]056é avocation and medical waivers
ang pay more for insurance 4s they were purchasing insurance &t an
older insurable age. Creat Southern also failed to inform
policyowners that, in many instances, their new Policies would be
financed witn unauthorized leans taken against the cash ox
accumulated values in their existing policies, that the new Great
Southern Policy was volatile and intezest-sensitive, ox that the
additional benefits of their new Policy were dependent upon
aggressive and unattainable pricing assumptions. This misconduct
allowed Great southern to strip the scoumulated cash values from
policyowners' existing policies in order to finance new Policies
and to collect substantial interest on the policy loans which ware
secured by underlying cash and accumulated values.

Al. Great Southern frequently employed the policy performance
znd vanishing premium sales practices as an inducement to

effectuate a churn. Thus, the policyowner was deceived into

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replacing a policy with substantial accrued cash value for a Policy
which prowised greater penefits, but whose performance rapidly
deteriorated due to Greet Soutnern's undisclosed actuarial
manipulations which reduced the interest evedited to the Policy and
increased the cost. Frequently the policyowner ended up going from
a paid-up policy to virtually no policy at all, incurring
substantial policy ioans, with interest, along the way.

Cc. Great Southearn’s Additional Deceptive practices

49. In furtherance of its scheme, Great Southern employed
additional deceptive practices, including failing to properly and
adequately disclose the true mature and cost of the Policies,
failing to adhere to suitability guidelines when selling the
Policies, failing to render prope- advice concerning the underlying
investments associated with the Policies, and failing to properly
administer the Policies to the benefit of Great Southern anc the
detriment of Class members. |

D. Great Southern Breached The Terms Of Its Contracts

43. Great Southern regularly and systematically breached at
least three express provisions of its Policy terms: ta} the
provision on "Interest Rate," (b> the provision on Cost of
Insurance and (c) the provision on Cost of Insurance Races.

1. Great Southern Artificially Manipulated Its
Interest Crediting Rates

44. Ag discussed, Great Southern's Policy contracts stated
the bases on which it would datermine interest crediting rates.

Tor interest-sensitive whole life Policies, the Policy promised:

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Thereafter, interest in excess of the guaranteed jnterest
rate described above may be applied to the accumulated
amount at such increased rates and in such manner as the
Company may determine from time to time based on the
Company ‘s axpectation of future interest rates.

4S. For its universal life Policies, Great Southern promised:

tnterest in excess of the above rate may be eredited to

the accumulation account at the option of the Company

based on its expectation as to future interest rates.

46. No other factors were identified or disolased.

47. Despite this explicit provision, Great Southern used many
of the actuarial manipulations degoribed above to manipulate the
current interest crediting rate in order to maximize its own
profits. For instance, Great Southern employed direct recognition,
the New Money mathod, teaser rates, undisclosed pricing
assumptions, imposition of the DAC tax and other artificeas as
described in (29-37 above. to reduce the policyowner's effective
earned interest credited to whe Policy. This eifective reduction
in the interest cxediting rare had a dramatic effect on the
Policy's cash values 45 a wasult of the loss of interest compounded
over the life of the Policy. Neither this Policy design, nor its
impact was ever disclosed to Greac gouthern's agents of
policyewners.”’ In contrast to the mathematical precision inferred
in the express Folicy language. the rates were set solely at the

Company's discretion with ittle or no justification ar

 

In order to induce potential policyowners to purchase the
Policy, in its Policy illustrations, Great Southern would
illustrate Policy performance at the initial rate fer the life of
the Policy, never disclosing the subsequent effecrive rate
veductien.

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documentation other than Great Southern's desire to improve its

profits. The use of these actuarial devices breached the express

terms of this Policy provision.

2. Great Southern Breached The Policy Contract
Regarding Cost Of Insurance

48. As discussed, Great Southern's Policy language provided
a formula to calculate the cost of insurance based on the Cast of

Insurance Rate, the amount of death benefit and the cash values.
The Policy contract stated:

Cost Of Insurance:

1. The cost of insurance for the policy isa calculated
as (a) multiplied by the result of {b) minus (c) where:

{a) is the cost of insurance rates as
described in the Cost of Insurance Rate
Becticon;

(bh) igs the insured's death benefit at the
beginning of the policy month divided by
1.0036748;

(c) ig the cash value at the beginning of the
policy month as Gescribed in the cash
value section.

Divide the result by $1,000.

* * *

Cost Of Insurance Rate:

_ , . the monthly guaranteed cost of insurance rates
shown in the Commissioner's 1980 Standard Ordinary
Mortality Table, Age Last Birthdey. Monthly cost of

insurance rates will be determined by the Company based
on its expectation as to future mortality experience,

Contrary to this formula, Great Southern adjusted its mortality
experience for pricing purposes based predominantly on Great
Seuthern's prejected profit margins and other competitive

considerations. Great Southern adjusted its Cost of Insurance Rate

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based on a variety of other undisclosed factors, which impaired the
ability of the Policy to perform as represented and sold.

49, For instance, beginning in approximately i986, defendant
intreduceg the "R-Factor," as an adjustment to the cost of
insurance in order to maintain a particular predetermined profit
margin.’ The R-Factor operated to extract the bulk of Great
Southern's profits in the first ten years of the Policy's life. In
the Cost of Ingurance calculation above, the R-Factor would be used
to manipulate the value of element {c). In the 19903, as Great
Southern experienced continuing excessive mortality, rather than
raising costs of insurance (which must be disclosed and explained
to regulators and policyowners), defendants would simply lower the
undisclosed R-Factor to achieve the same result. State regulators
in Texas criticized Great Southern's us@ of the R-Pactor.

SO. Beginning in 1991, Great Southern also breached this
contract provision by passing on the DAC tax as an undiselosed cost
of insurance. Use of these other factors to determine mortality
and cost of insurance is a breach of the terms of the Policies.

3. Great Southern Breached The Performance Terms
Of Its Contract

S51. Great Southern presented prospective policyowners with
Policy illustrations demonstrating how the Policy's values -- death
benefits and cash accumulation ~-- would grow for each year of the
Policy's life and the schedule and number of out-of-pocket premiums

necessary to sustain those values. Great Southern knew that this

 

8 See 436, above.

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promised Policy performance and number of premium payments required
were material to the policyowners' purchase decision and were the
key criteria for sale of the product, Thus, illustrations and
projected performance were the bases on which the Policies were
sold and became implied terms of the insurance CONCract .

2. Once the Policy was purchased, Great Southern credited
different, lower interest crediting rates and higher costs of
insurance to the Policies than illustrated. For instance, Great
Southern changed from the portfolio methed of determining interest
crediting rates te the New Money Method, to more aggressively
capture the higher New Money rate. Similarly, if Great Southern
proposed to reduce the effective interest rate in the sixth Policy
year by taking a higher margin on the interest, but illustrated
policy performance at the initial rate tor the life cf the policy,
the vanish dates and projected Policy performance would not and
couleé not be achieved. Great Southern further breached these
contract terms by demanding that policyowners pay premiums in
addition to or in excess of those previously illustrated; by
depleting and inducing cash and ether values cf the Policy to
levels less than promised and by terminating or threatening to
terminate the Policy notwithstanding the fact that the policyowner

had paid all premiums required by the contract.

IV, GREAT SOUTHERN FAILED TO DISCLOSE MATERIAL INFORMATION
AFFECTING THE PERFORMANCE OF THE POLICIES

$3. Great Southern marketed these products through uniform

saleg and marketing materials and Policy illustrations that

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projected how these products would perform, All of these materials
were developed by Great Southern in Dallas and distributed to
agents nationwide. Tnese materials and Policy illustrations failed
to inform policyowners of the basic mechanics cf these complex
products. Most notably, defendant failed to inform policyowners of
the pricing assumptions on which these products were based and the
manner in which these assumptions were then manipulated by
defendant. Defendant would inform agents of changes in current
interest crediting rates, but never provided the agents with the
rationale for the changes or the assumptions behind the rates. Nor
were agents ever told that the promised rates were later heing
manipulated dewnward using actuarial artifice built into the policy
design.

54. Great Southern's uniform Policy illustrations and
marketing materials failed to disclose even the most fundamental
Facta and information concerning the mechanics and verformance of

its Policies. Great Southern failed to disclose, inter ajia, thet:

 

(a) based on Great Southern's actuarial manipulations,
the cash value, dividends, interest earned and other Policy
benefits a policyowner would realize under the Policy will be
substantially less than represented and sold;

(6) The actual number of out-of-pocket cash premium
payments a policyowner would have to pay for his or her Policy
would be substantially greater than promised;

(oc) the representations of Policy performance, including

vanish dates, were based on artificially manipulated interest

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erediting rates, mortality, expense and other assumptions that were
inconsistent with Great Southern's current oF projected earnings
and investment experience and lacked any reasonable basis in fact;

(da) the assumptions underlying the representations of
policy performance were inconsistent with Great Seuthern's own
internal forecasts, estimates, analyses or projections of these
same Factors;

fe) the vanishing premium Policies would not pay for
themselves as represented, illustrated and promised by Great
Southern;

(£) Great did not intend te and did not credit interest
to the Policies in accordance with the terms of the contract and
did not intend to and did not maintain the artificially high
interest crediting rates necessary to fund the Policies as
illustrated:

(g) the interest payable under the Policies was
extremely sensitive to undisclosed factors concerning external
interest rates, including Great Southern's investment portfolio,
competition, Great Southern's profit plans, expense and mortality
experience, DAC tax, persistency bomuses and lapse rates;

(h) Great Southern's portfolio contained numerous
investments having a substantial exposure to interest rate risks,
and that nominal reductions in market interest rates would require
Great Southern to reduce disproportionately the interest rates

payable on the Policies;

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(i) Great Southern knew that the interest rates payable
to policyowners would be materially less than the rates used in the
uniform Policy illustrations and representations made to
policyowners;

(j) Great Southern was manipulating its costs of
insurance by an undisclosed "“R-Factor" in order to extract its
profit on @ach Policy in the early years of the Policy and to
disquise increases in mortality expenses; and

(k) Great Southern knew that nominel ceviations from the
assumed performance of any of the various factors built into the
Policies would have a devastating imoact on the performance of the
Policy and, for vanishing premium Policies, on the ability of the
Policy's out of pocket premiums to vanish.

SS. In furtherance of its fraudulent scheme of selling the
Policies aS investment, savings, or retirement vehicles, Great
Southern failed to disclose to plaintiffs and the Class, among
other things, that:

(a) payments that were characterized as “deposits” or
“contributions” were premiums;

(6) a substantial vortion of the premiums they paid
would not go toward any investment account, but rather would be
used to pay commissions to the agent and other sales and
administrative charges to Great Southern, and wouid be used as
mortality charges to purchase life insurance; and

(¢) the true rate of return that would be aarned by

purchasing the Folicy was less than the illustrated rate or the

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rates available on other investment vehicles designed for
retirement, savings or investment.

$6. With its replacement practice, Great Southern uniformly
failed to inform plaintiffs and Class Members that they would lose
gubstantial cash values and aecunulation values in their existing
Policies, be required to pay hew and significant commission
charges, be subject to new contestability clauses, lose avocation
and medical waiverg and pay more for insurance a5 they were
purchasing insurance at an older insurable age. Great Southern
also failed to inform policyowners that, in many instances, their
new Policies would be financed with unauthorized loans taken
against the cash or accumulates values in their existing Policies,
that the new Great Geuthern Policy was volatile and interest-
sensitive, or that the additional benefits of their new Policy ware
dependent upon the aggressive and unattainable pricing assumptions
described above. This misconduct allowed Great Southern te strip
the accumulated cash values from policyowners' existing Policies in
order to finance néw Policies and to collect substantial interest
on the Policy leans which were secured by underlying cash and
accumulated values.

57, The gales presentations, marketing materials and Policy
illustrations prepared and disseminated by Great Southern and used
in replacement sales failed to disclose even the most fundamental
facts and information concerning Policy replacement. Great

Seuthern's s&les presentations and related marketing materials

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misrepresented and/or failed to diselose to plaintiffs and the

Class that, inter alia:

 

(a) the replacement Policies were highly leveraged,
volatile and interest-sensitive;

(o) performance of the replacement Policies was
dependant on aggressive and unattainable pricing assumptions about
interest crediting rates, dividend scales, expenses, persistency
rates and other critical assumptions;

(e} there were substantial xisks that the replacement
Policies would not perform as illustrated and promised due to Great
Southern’s insupportable pricing assumptions;

(a) there are material adverse financial and non-
financial consequences whenever a policyowner surrenders or borrows
against an existing Policy to purchase a new Policy, even if the
new Policy has a higher face amount or death benefit;

fe} the cash value in the existing Policies would be
depleted or pledged as collateral for a Policy loan to support the
new Policy without their knowledge or permission;

(£) the death benefits of their existing Policies would
be eliminated or reduced as a result of loan(s) secured by the cash
value of the existing policies;

(g) when the cash value in existing Folicies was
depleted, the policyowner would owe premiums on the new Policy,
premiums on the existing Policy and interest on the Policy loan(s)

secured by the cash value of the existing policy:

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(nh) the agent would earn substantial commissions, which
would diminish the cash value otherwise availabie to the
policyowner;

(i) Great Southern would earn substantial sales loads or
administrative charges, which would diminish the cash value
otherwise available to the policyowner;

(3) dif an existing Policy was fully surrendered or
lapsed, valuable Policy benefits such as suicide clauses, contesta-
bility clauses, favorable Policy loan provisions or "non-~-
forfeiture" values, avocation, and medical waivers would be Lest;

(k) the replacement Policy was subject to new
underwriting standards, at an older insurable age; and

(1) the transaction exposed the policyowner to humerous
undisclosed risks, including tax risks.

58. Without disclosure of these material facts and
information, the uniform marketing materials and policy
illustrations prepared, approved and disseminated by Great Southern
were inherently false, misleading and deceptive. Had policyowners
known of these undisclosed material facts, they would not have
purchased their Polices.

59. Great Southern's nationwide uniform scheme and common
course of conduct was designed to and did induce tens of thousands
of Class Members to purchase Policies from Great Southern. Great
Southern received hundreds of millions of dollars in premium income
from their improper sale of these Policies. Plaintifis and the

Class, on the other hand, have lost or face losing millions of

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doliars in death benefits, cash values, accumulated eccount values,
surrender values and other vested values due to their inability or
unwillingness to pay unanticipated additional out-of-pocket
premiums on Policies sold pursuant to Great Southern's scheme
described here.

60. Moreover, as these products began to deteriorate, Great
Southern began demanding payment of additional and wnexpected
premiums. In gome instances, Great Southern demanded that the
policyowner make additionai large lump sum payments into the
Policies to make up premium "shortfalls." Policyowners whe did not
comply were and are threatened with forfeiture of their Policies.
Numerous Class Members have yet to learn that their Folicies have
substantially declined in death benefits and cash value or that
their premium payments will not vanish as promised as a result of
Great Southern's misconduct and failure to disclose, and that their
Policies will lapse if they do not make additional premium
payments.

Vv. GREAT SOUTHERN'S FRAUDULENT CONCEALMENT OF ITS NATIONWIDE
FRAUDULENT SCHEME

61, Despite exercising reasonable diligence, plaintiffs and
Class Members could not discover and were prevented from
discovering Great Southern's fraudulent scheme. As a Fiduciary to
the Class, Great Southern owed plaintiffs and Class Members an
affirmative duty of full and fair disclosure, but failed to honor
and discharge that duty. Rather than ensure tyuthful disclosure of

material facts, Great Southern concealed material facts relating to

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the deceptive, fraudulent and uniawful conduct alleged herein.
This fraudulent concaalment began at the time the Policies were
gold to plaintiffs and Class Members and continued throughout the
Class Period.

62. The marketing materials and Policy illustrations conveyed
to plaintiffs and the Class at the time of sale failed to disclose
material facts and the fundamental and complex assumptions by whieh
the values demonstrated in the Policy illustrations were determined
and altered. Sample Policies were never provided to plaintiffs and
Class Members at the point of sale; indeed, the Policies were not
even delivered to plaintiffs and Class Members until many weeks or,
in some instances, many months later. Defendant would inform
agents of changes in current interest crediting rates but never
provided the agents with the rationale for the changes or the
assumptions behind the rates. Nor were agents ever told that the
promised rates were later being manipulated downward using
actuarial artifice built into the policy design.

63. The actuarial manipulations undertaken in breach of the
Policy contract were not disclosed to policyowners. Policyowners

were not informed of the changes in the interest rate credited to

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their policies,’ of the changes in expenses, loads or of the
application of other factors such as the "R-Factor.'"

64, Although Great Southern afforded policyowners a "free
look" period after delivery of the Policy, as required by law, the
Policies were steeped in incomprehensible insurance jargon, phrased
in vague and ambiguous Terms. Similarly, the Policies failed to
disclose any of the assumptions underlying the representations and
Policy illustrations and failed to addrese or qualify the Policy
schedules set forth in these representaticns and Policy
illustrations. This process denied policyowners access to the
actual Policy terme at the point of sale and delivered
unintelligible Policies which were, by design, substantially
@ifferent than the product offered fer gale. The process was
designed to conceal the fraudulent nature of these sales
presentations and the material risks of Great Southern's Policies.

65. When pelicyowners raised concerns about their Policies or
inquired about the status of their Policies, Great Southern
actively concealed the facts with nalf-truths and false and
misleading statements. Great Southern instructed policyowners to
icnore demands for additional premiums, assuring them that it was

all a "mixup." In so doing, Great Southern prevented and deterred

 

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The only communication the policyowner received was an
animal policy statement. Though the policyowner could compare
each of these statements with those issued in prier years and
ascertain, for instance, that the interest rate being credited ta
that policy was declining, nowhere did Great Southern explain the
impact of those changes on Policy values or on the number or
amount of premium payments.

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any meaningful inquiry or investigation hy policyowners that would
neve d@isclased Great Southern's fraudulent common course of
conduct.

66. The running of the statute of limitations has been
suspended with respect to any claims that plaintiffs and Class
Members have brought as a result of the unlawful and fraudulent
course of conduct alleged here. Great Southern, through various
devices of secrecy, affirmatively and fraudulently concealed the
existence of its scheme and unlawful course of conduct from
plaintiffs and the Class. Plaintiffs and the Class had no
knowledge of Great Southern's scheme and unlawful course of
conduct, or any of the facts that might have led to the discovery
of Creat Southern's wrongdoing with the exercise of due diligence,
until shortly before the filing of plaintiffs' initial complaints.

VI. GREAT SOUTHERN'S FIDUCIARY DUTY AND RELATIONSHIP OF
TRUST AND CONFIDENCE TO PLAINTIFYS AND CLASS MEMBERS

67. Great Southern held and holds a relationship of trust and
confidence with plaintiffs and Class Members as a resuit of the
following:

(a) Great Southern is an insurer characterized by
elements of public interest which subject Great Southern to more
stringent standards of conduct than those normally arising out of
a contract;

tbh) Great Southern cultivated a relationship of trust
and corfidence with plaintiffs and Class Members, through Great

Southern's marketing, @ales and servicing of the complex and

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sophisticated insurance products purchased by plaintiffs and Class
Members ;

(c} the Policies purchased by plaintiffs and the Class
were contracts of adhesion that were prepared by Great Southern ang
were not subject to negotiation. Plaintiffs and Class Members did
not possess bargaining power equal to thet of Great Southern;

(A) policyowners often had prior relationships with
Great Southern, which the company and its agents used and
manipulated to create trust and confidence in plaintiffs and the
Class in order to sell Great Southern policies:

(@) Great Southern and its agents held themselves out as
highly-skilled insurance experts, possessing the special knowledge
and &xpertise needed to interpret and understand the complex and
Sopnisticated insurance products and the funding methods and
mechanics of the vanishing premium and policy performance sales.
Great Southern encouraged plaintiffs and the Class fo rely on this
proffered special knowledge and expertise in purchasing the
Policies, and counseled plaintiffs and Class Members concerning the
complex and specialized insurance they were purchasing;

(f} Great Southern and its agents, in inducing
plaintiffs and the Class to purchase the Policies, held themselves
out aS experts to and confidants of Plaintiffs and the Class,
thereby encouraging Plaintiffs and Class Members to reveal private
and confidential information, This private and confidential
information included financial Statements, tax returns, business

Dlans, earnings projections, medical records, driving records,

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wills and numerous other estate Planning documents ang related
matters; and

{} Great Southern knew or should have known that
plaintiffs and the Class were unsophisticated insurance consumers,
ill-equipped to understand the unfamiliar and technical language of
the Policies, or the complex and sophisticated methods of
determining the premium payment schedules promised by Great
southern,

68. Based on the foresoing, Great Southern owed plaintiffs
and Class Members fiduciary duties, including the duty of good
faith and fair dealing, the duty of full and fair disclosure, and
the duty of care arising out of its relationship with plaintiffs
and Class Members.

69. Hy engaging in the conduct alleged in this Complaint,
Great Southern breached its duties to plainciffs and Class Members
by failing to diselose, while under a duty to do so, numerous
material facts sect forth more fully in §§IYX and IV above.

70. In addition to its duties derived from its relationship
of trust and confidence, Great Southern had an independent duty to
disclose information to plaintiffs and Class Members by virtue of
its speciai relationship with them. Great Southern had sole
knowledge of, or accass to, material facts concerning, inter alia,
(a) the relationship between the interest crediting rates and/or
dividend scales and related expense charges, and the illustrated
and represented premium payments; (bh) the factors relied upnen by
Great Southern in determining interest crediting rates, dividend

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scales and expenses; (c) the volatility of those factors in
determining interest crediting rates, dividend scales and expenses
and Great Southern's ability to Manipulate chose factors; (@) that
even a modest change in interest crediting rates, dividend scales,
expenses or cther underlying assumptions would dramatically impact
the promised Policy performance, including the number of out-of-
pocket premiums that. would be required to maintain a vanishing
premium Policy; and (e) that Great Southern's own internal review,
analyses and actuarial data did not Support. the interest crediting
rates and dividend scales urilized in its marketing materials and
Policy illustrations. Great Southern was aware that plaintiffa and
Class Members had no access to the foregoing information and
therefore could not evaluate the accuracy of the information
provided to them, because of the specialized nature of actuarial
assumptions and the finance and insurance funding methods employed
in its representations and Policy illustrations. Great Southern
intentionally kept plaintiffs and Class Members uninformed of these
facts and capitalized on its sole posseggion cf the material facts.

VII. GREAT SOUTHERN'S INADEQUATE TRAINING AND SUPERVISION OF
AGENTS

71. Great Southern selected and hired the people it desired
to S@érve as its agents and provided to them the uniform marketing
materials discussed above with which to sell 2ts Policies. Grearc
Southern trained its agents in its sales procedures and techniques

through uniform training videos, conferences and training packages

and brochures.

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72. Great Southern then induced plaintiffs and Class Members
to rely on the special knowledge and expertise of its agents when
purchasing their individual Policies. However, contrary to the
impression that Great Southern instructed its agents to create, the
agents had Little or no expertise or training in finance, or in the
performance or suitability of the Policies they were selling, or in
the material assumptions underlying those products.

73. Great Southern knew that Plaintiffs and Class Members
were generally unsophisticated insurance consumers, unfamiliar with
the technical language of the Policies or the complex method of
determining the premiums and payment schedules represented by Great
Southern. Great Southern algo knew that Many Of its agents were no
better equipped to comprehend, let alone explain, the intricacies
ef the Policies which they sold. Therefore, Great Southern's

agents relied solely on the sales presentations, uniform sales

scripts, marketing materials and Folicy illustrations provided by

Great Southern te induce plaintiffs ané Class Members to purchase
the Policies.

74. Great Southern knowingly failed and refused to supervise
its agents. Great Southern failed to comply with praner business
practices by refusing to reprimand its agents and failing to notify
stale regulatory authorities that its agents were engaging in the
improper activities described kere. Great Southern knew that it
nad failed to enact and enforce sufficient internal guidelines on
the use of Policy illustrations, marketing materials or market

conduct.

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73. Furthermore, Great Southern implemented poor internal
controls for the review of the sale of its Policies, including, bur
not limited to, "churning" activities which resulted in the
purchase of Great Southern Policies to the detriment of plaintiffs
and the Class. Great Southern also failed to implement adequate
oversight and compliance procedures to ensure that its agents were
complying with state insurance laws and regulations, sucluding the
filing of proper replacement disclosure forms.

76. Tn short, Great Southern knew that many of its agents did
not have che expertise or training to properly interpret, explain
ox comprehend the misleading sales presentations, marketing
materials and Policy illustrations. on these bases, Great Southern
failed to educate, train or Supervise its agents to ensure that
meaningful ang appropriate disclosures were made to prospective
policyowners.

VILI- FACTS RELATING TO EACH NAMED PLAINTIFF

A. The Solicitation And Sale Of Harriet D. Mann's
Policy

77. In 1987, Harriet Mann was contacted by Great Southern's
agent Carmine N. Perez, who suggested that she purchase a $100,000
key person Jife insurance Policy. The key person insurance was
sold on the basig that it would help protect the business that
Ms. Mann owned with her husband. Great Southern represented that
the premium payments would be $74.99 ber month throughout the life
of the Policy and that the death benefit would remain at $100,000.

MS. Mann applied fer ana was subsequently issued a Great Southern

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Policy {No. 2056776) on April 22, 4987. Great Southern navar
informed Ms. Mann that premiums could increase in the future.
Ms. Mann faithfully paid the $74.99 Monthly premium for seven
years. During this seven year period, Great Southern never
informed Ms. Mann that. she would have to pay any amount other than
the $74,99 monthly premium.

7&. In September of 1994, Ms. mann received notice from Sreact
Southern that she owed a lump sum payment of $297.86 in order for
the Policy to remain in foree for an additional two months.
Ms. Mann immediately contacted Great Southern and was told that the
payment Was necessary because Great Southern's investment returns
had been less than projected. This statement was false. The
additional payment was necessary because Great Southern breached
the insurance contract, applied in the undisclosed actuarial
manipulations and sold the Policy based on the undisclosed material
assumptions described ahove. In addition to the lump 8m payment,
Great Southern provided Ms. Mann with six "policy change" options,
each requiring Ms. Mann to increase her monthly premiums in order
tO Maintain the Policy at dramatically reduced face amounts and/or
coverage periods. For instance, Ms. Mann was presented the cption
of increasing her monthly premiums to $85 which would allow her to
keep her Policy inforce fox only an additional four years at a 50%
reduction in the face amount. Angry and dissatisfied, Ms. Mann
Gemanded that her Dolicy be surrengered, and the cash value
refunded. Great Southern then informed Ms. Mann that her Policy
had no cash surrender value. Great Southern left Ms. Mann with

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only one option; Pay an increased premium for a reduced death
benefit or lose her coverage. Ms. Mann refused to pay the
increased premium, and her Policy subsequently lapsed,

B, The Solicitation And Sale Of Irwin Ginsberg's
Policy

79. Inthe latez part of 1985, Ixwin Ginsberg contacted Great
Southern's agent, Jack Goldberg, At this time, mr. Ginsberg owned
two Great Southern term life insurance Folicies, one Purchased in
1983 with a face amount of $100,000 and the second, also a $100,000
Policy, purchased in 1984.

60. Great Southern represented that Mr, Ginshérq could
replace his existing term insurance Policies With a Great Southern
"Lifetime" Universal Life Policy requiring level quarterly premium
payments of $5929,59 throughout the life of the Policy, which was
wntil Mz. Ginsberg reached age Of. Great Southern further
mepreésented that the proposed Policy would provide the same amount
of insurance protection at lower net coste than his existing term
Policies and would build accumulated cash values that could he used
to maké prettium payments.

$l. Great Southern Provided Mr, Ginsberg with a letter and
two Policy illustrations. One computer generated Policy
illustration Purported to show the Policy's values, death benefit
and annual premiums. This Policy illustration also Showed that

Mr, Ginsberg's annual premiums would remain level throughout the

life of the Pelicy.

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82. The second Policy illustration was hand-written by Great
Southern's agent (based upon numbers the agent received from Great
southern) to compare the premium payments and net cost of "Tern
Protection" £9 "Money Market Universal Life." This Policy
illustration purported to show the stable yearly premium payment
required for the universal life Policy as compared to the
inereaging yearly premium payment on the term protection. The
Policy illustration also emphasized the lower net cost of che
universal life Policy, which was presented as an absolute figure,
as compared to the higher and varying net cost of term insurence,
The message was clear: Whereas other insurance policies would vary
in cost over the terms of the policies, the universal life Policy
carried a low, uniform premium oblication over its tern. The
letter provided with this Policy illustration reiterated thease
Pepresentations. At no time did Great Southern inform Mr. Ginsberg
thet his premiums could increase in the Future, let alone that the
product he purchaged carried an inherent risk of huge and
disproportionate premium increases.

63. Mr. Ginsberg purchased a Great Southern adjustable life
insurance Policy (No, 1995844) with a face amount of $200,000,
That Policy was issued on December 3, 1985,

84. In the fail of 1954, when Mr. Ginsberg was 67 years of
age, Great Soulhern increased his quarterly premiums from $929.50
to $1,117. mr, Ginsberg immediately contacted Great Southern to
question the premium ancrease. By letter dated February 2, 1995,

Great Southern informed Mr. Ginsberg that, due to declining

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4.

interest rates, his Policy's accumulation account value was
inadequate te fund the Policy to age 95. This statement was false.
The additional Peyment was necessary because Great Southern
breached the insurance contract, or engaged in the undisclosed
actuarlal manipulations and sold the Policy based on the
undisclosed material assumptions described above. In addition, the
Policy was now sunject to increased Mortality charges. ‘the letter
provided mr. Sinsberg with three draconian reproposal
illustrations, including continued coverage for a dramatically
reduced number of years (to age 70 rather than 95), or coverage te
age 95 as originaily proposed but with dramatically increased
premium payments (increased from $823.50 to $2,754.39 per quarter),
approximately 300% higher than the original premium amount that
induced him to purchase the Policy. Under this second proposal,
Mr. Ginsberg, by age 80, would have paid in premiums more than the
death henefit. Mr. Ginsberg surrendered his Policy for its
approximately $3,000 cagh value in 1996.

Cc. The Solicitation Ang Sale Of Isaac Norman's Policy

85. In 1986, lsaac Norman was contacted by Robert 4. Pacini,
an agent far Great Southern, to discuss the purchase of additional
iife insurance for Mr. Norman and his wife. Great Southern,
through its agent, Yepresented that it could provide my. Norman,
with a life insurance Policy that would require level out-of-pocket

premium payments for only six or seven years and yet the death
benefit would be maintained throughout the life of the Policy. In
SUPpert of thanse representations, Great Southern presented

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Mr. Norman with vanishing premium Policy illustrations depicting a
death benefit that was maintained throughout the Policy’s life,
with increasing cash surrender values, for a fixed and limitad
number of out-of-pocket premium payments.

86. Great Southern never disclosed to Mr. Norman its intent
to breach the insurance contract and to engage in the actuarial
assumptions as descrihed above.

87. Mr. Norman purchased a $300,000 Great Southern Policy
(No, 1611254) insuring the life of his wife. The Policy wag issued
to Mr. Norman on May 15, 1986.

68. Subsequently, Mr. Norman received Supplemental Policy
illustrations in conjunction with the Policies purchased, ‘hase
Policy illustrations, similar to the ones provided at the point of
sale, depicted a death benefit that was maintained throughout the
life of the Policy with increasing cash accumulation values for a
fixed and limited number of payments.

83. In 1993, contrary fo its representations, Great Southern
demanded and Mr. Norman has paid additional out-of-pocket oremium
payments in order to maintain his Policy. These payments were
necessary as a result of Great Southern's breach of the insurance
contract and its use of actuarial tanipulations and undisclosed
assumptions as described above.

D. The Solicitation And Sale Of Yvonne Massey'a
Policy

90. In 1982, Yvonne Massey contacted Ralph Williams, an agent

or Great Southern, At that time, Ms, Massey aQiready cwned a

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$50,000 Great Southern whole life insurance Policy which she had
purchased in 1980, also through agant Williams. Great Seuthern,
through agent Williams, recommended that Ms. Massey use the cash
value in her eXisting whole life Policy to purchase a new Great
Southern "Lifetime" insurance Policy. Great Southern répre sented
that the new Policy was a superior product, was a good investment
and could provide retirement funds to Me. Massey. Great Southern
further proclaimed the "flexibility" of the new Policy that would
allow Ms. Massey to Skip some premium payments without affecting
the Policy's death benefit, the periodic premium due and would also
allow har to take loans on her accumplated valuss. In Support of
these representations, Great Southern provided ts Ms, Massey
marketing materials and a Policy illustration,

9i. Neither Great Southern, nor the marketing materials and
Policy illustration presented to Ms. Massey, disclosed the
associated risks or costs o£: Policy replacement. For example,
Great Ssuthern never disclosed that Ms. Massey would pay
substantial seles commissions and front-and loads or charges for
the new Policy or that she would lcse valuable Policy benefits upon
Surrender of her existing Policy. Nor did Great Southern disclose
to Ms. Massey that she wag replacing her existing Policy with e
Policy that was Ear more volatile, inmterest-sensitive and laden
with visk. Rather, on the application fer the new Policy, Great

Southern indicated that no ingurance would be replaced ag a result

of the trensaction.

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a2. Ms, Massey agreed to purchase the Great Southern
"Lifetime" Policy and to surrender her existing Great Scuthern
Policy. A Great Southern Policy (No. 1482197) was issued to
Ms. Massey on March 24, 1982.

23. It was not until approximately 1997 that Ms. Massey
tearned of the detrimental effects of Poliay replacement and thar
her Policy had failed to perform as promised by Great Southern.
IX. INJURY To THE CLASS

94. The sale of lifes insurance Policies based upon the
fraudulent and deceptive sales acheme described above was an
Enormous success for Great Southern, Great Southern recerved
millions of dollars in premium inceme from the Sales of life
insurance Policies based Upon the uniformly false and misleading
Sales presentations and other practices described above. Great
Southern induced thousands of existing and new policyowners to
purchase permanent life insurance Policies from Great Southern:
based upon false and misleading sales presentations, marketing
materials and Policy illustrations.

75, AS ai result of Great Southern's fraudulent sales
practices and breaches OF contract, Plaintiffs, together with
thousands of Similarly situated Members of the Class, were:
(a) induced to purchase life insurance Policies through the
systematic omissions or Misrepresentation of material facts
concerning the nature and terms of the Policies and their ability
to perform as represented by Great Southern, including their
ability to vanish ag represented and illustrated; (b}) induced to

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replace and/or deplete the cash value of existing policies by using
or encumbering the cash values accumulated in the existing policies
to purchase new Policies from Great Southern; and (c) suffered
substantial deteriorating policy performances based on Great
Southarn's manipulation of interest crediting rates and costs of
insurance.

96. As a direct and proximate result of Great Southern's
fraudulent and improper course of conduct, plaintiffs and the Class
have sustained and ceantinue toe sustain substantial injuries end
damages, including:

(a] the payment of premiums in excess of the amounts
represented by Great Southern at the time the Policies were
purcnased;

(5) the loss andé/or diminution of daath benefits,
accumulated cash values, paid-up additions and/or other insurance
benefits compared to those represented at the time the Policies
were purchaged;

(c) the loss of valuable policies issued by Great
Southern or its competitors in order to purchase the Policies;

{ad} the payment of additional premiums, life insurance
costs, charges and fees; and

(e}) the payment of interest charges on policy loans

and/or surrender charges on cash values used to pay premiums oan tha

new life insurance Policies.
77. Plaintiffs and Class Members have suffered and will

suffer harm as a direct ana proximate result of the wrongful

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conduct alleged in this Complaint. Plaintiffs and Class Members
have lost or fare the prospect of losing hundreds of millions of
dollare in death benefits, cash values, surrender values and
lifetime income due to their inability or unwillingness to pay
additional premiums on a Policy or Policies they were told wauld
Teguire no future prenium Payments. Likewise, Class Members heve
been and will be forced to pay millions of dollars in acditional
premiums they never agreed or expected to pay.

$8. Many Class Members are elderly persons in or nearing
retirement who cannot afford to pay premiums on life insurance for
the remainder of their lives. Many Class Members are now
uninsurable at any affordable cost and will be unable to obtain
additional insurance op their lives for the benefit ef their
families and their estates. Without the equitable and injunctive
relief sought herein, plaintiffs and Class Members will continue to
suffer irreparable harm.

99. Great Southern had both the duty and tha ability to
review its marketing materials systematically and to establish
adequate internal controls te prevent the deceptive sales practices
alleged herein. instead, however, Great Southern intentionally
Failed and refused to discourage or stop the deceptive sales
practices and, Yather, authorized, encouraged and ratified the
misconduct af its agents to perpetrate its fraudulent scheme .

XK. CLASS ACTION ALLEGATIONS
100. This action is properly brought as a class action under

Fed. R. Civ. Pp. Rules 23a} and (b). The Class méans all persons

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or entities who had, at any time during the Class Period, an
ownership interest in one or more Policies; provided, however, that
Class or Class Members does not include {unless such Persons or
entities are Class Mamberg by virtue of their ownership interest in
other Policies) (a) any person or entity who: (1) while represented
by counsel in the settlement of an actual or threatened lawsuit,
signed a document that releases the Company from any further claims
concerning such Policy or Policies; (ii) has or had ownership of a
policy that is included in the class certified on April 18, 2000 in
McCulley v. Great Southern Life Insur. Co. et al. No. 3:98:cVy-
2466-G (N.D. Tex. Dallag Div.}; (ii3} has or had ownership of a
Policy that is timely excluded from the Class; (iv) has or had
ownership of a Policy that terminated, where a death benefit was
paid under the Policy due to the death of the insured; or (v) has
Or had ownership of a Policy that has terminated prior to January
1, 1993; or {b) any insurance cofipany that has or had ownership of
a Policy pursuant to an absolute assignment effeated as part of an
exchange under secrion 1035 of the Internal Revenue Code. “Class
Period” means the period from January 1, 1982, to December 31,
192993. This action is Properly brought as a class action under Rule
23 for the following reasons:

(2) membership in the Class is so numerous as to make it
impractical to bring all Class Members before the Court. The exact
number of Class Members is unknown but can be determined From Great

Southern's records. Although plaintiffs do not presently know the

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location of all Class Members, rheir identities and addresses Can
be readily ascertained from Great Southern's records.

{b) the Class representatives are Members of the Class
described above, Great Southern subjected them to the same
nationwide scheme anc common course of conduct alleged above, and
chey purchased life insurance Policies from Great Southern based
upon the scheme and common Course ot conduct.

fc) there are numerous and substantial questions of law
or fact common to all the Members pf the Class which contrel this
litigation and predominate cver any individual issues. These
common questions include the foliowirg:

(i) whether Great Southern materially breached its
Policy contracts;

(ii) whether Great Southern devised and deployed é
scheme or artifice to conceal material facts from plaintiffe and
Class Members; |

(iii) whether Great Souchern systematically failed to
disclose to plaintiffs and Class Members material information such
as the critical assumptions underlying the operation and
performance of it Policies;

(iv) whether Great Southern developed, encoauxaged
and engaged in a scheme designed to sell new Policies through
Fraudulent concealment of material facts;

(v) whether Great Southern misrepresented co
plaintiffs and Class Members the promised performance of their

policies by failing to disclose that the excess interest crediting

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rates rcepresented in the uniform sales presentations and Policy
illustrations approved and prepared by it had no reasonable basis
in fact and were not supported by Great Southern's current or
anticipated experience;

(vi) whether the interest crediting rates, dividend
acales, cash values, accumulated values, assumptions, mortality
experience, expenses, lapse rates, persistency bonus assumptions,
jmterest rete and investment return projections were established
based on factors other than those disclosed in Great Southern's
Policy contracts;

(wii) whether the interest crediting rates, dividend
scales, cash values, accumulated values, assumptions, mortality
experience, expenses, lapse retes, interest rate and investment
return projections underlying Great Southern's sales presentations,
marketing materials and Policy illustrations were inconsistent with
or contrary to Great Southern's internal forecasts, business plans,
estimates, analyses or projections;

(viii) whether Great Southern breached its contracts
with plaintiffs and Class Members by improperly charging the DAC
tax to Policies through undisclosed changes in interest crediting
rates, adjustments to monthly deducticns. cost of insurance oF
ether Policy expenses;

(ix) whether Great Southern improperly reduced
interest crediting yates om its Policies or improperly increased
cost of insurance rates on Folicy loans based upon direct

recognition;

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(x) whether Great Southern misrepresented or
concealed at the time of sale and thereafter the number and/or
amount of out-of-pocket premium payments a policyowner would have
to pay and the cash values, accumulated account values, surrender
values and/or benefits a policyowner would realize based on a
particular number or amount o£ out-of-pocket premium payments;

(xi) whether the uniform sales presentations,
marketing materials and/or Policy illustrations presented to
plaintiffs and Class Members omitted material facts relating to
inrerest crediting rates, dividend sceles, lapse rates, premiums,
cash values, surrender values, death benefits, the use of direct
recognition, the New Money Method, investment returns and ineccine
payable and its practice of alternating crediting methods to
represent the interest payable on the Policies;

ixii) whether Great Southern failed to disclose to
plaintiffs and Class Members that the replacement or use of cash
values or accutmuiated vaiues from existing Policies in order to
purchase new Policies would cause the loss of substantial benefits
available in the ¢xisting policies;

(xiii) whether Great Southern failed te disclose to
plaintiffs and Class Members that the replacement Policies sold to
them were highly leveraged insurance Policies that would not and
could not perform as illustrated;

(xiv) whether Great Southern failed to adequately
supervise, educate and train its agente regarding the terms of its

Policies, appropriate methads of sales presentations, creation ans

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utilization of Policy illustrations, replacement of Policies, and
compliance with state and federal laws (including state insurance
Laws and regulations), and whether Great Southern's failure toa do
so constituted a means by which Great Southern engaded in the
scheme descriked herein;

ixv) whether Great Southern negligently hired,
retained or promoted agents toa sell Policies to plaintiffs and
Class Members, when such agents engaged in the wrongful practices
alleged herein;

(xvi) whether Great Southern encaged in a nationwide
fraudulent course of conduct in order to induce the purchase of the
Policies by plaintiffs and Clags Members;

(xvii) whether vlaintiffs and Class Members 4re
entitled to specific performance, injunctive relief ox other
equitable relief against Great Southern; and

(xviii) whether plaintifis and Class Mambers nave
sustained damages, are entitled to an award of punitive damages and
the preper measure of such damages.

These common omissions obviate any need to solicit individual
testimony as to éach element of plaintiffs’ causes of actions.

(dq) The claims asserted by plaintiffs are typical of the
claims of Class Members and plaintifis have no interest adverse £o
the interests of other Class Members;

fe) Plaintiffs will fairly and adequately protect the
interests of the Class; and have retained counsel experienced in

class and complex Litigation; and

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(£) A class action ig superior to other available
methods for the fair and efficient adjudication of this controversy
for at least the following reasons:

(4) without a class action, Class Members wiil
continue to suffer damages, Great Southern's violations of law will
proceed without remedy, and Great Southern will continue to retain
the proceeds of its misconduct ;

(ii} given (a2) the substantive complexity cf this
litigation, (b) the size of individual Class Members' claims
(which, though significant individually, pale compared to the
corpus of Great Southern's ill-gotten gains), and (c} the limited
resources of the Class Members, many of whom are elderiy, few, af
any, Class Members could afford to seak legal redress individually
for the wrangs Great Southern has committed against them;

(iii) this action will foster an orderly and
expeditious administration of class claims, economies or time,
effort and expense, and uniformity of decision; and

(iv) This action presents no difficulty that would
impede the Court's management of it 4s a class action, and it is
the best available means by which Members of the Clasg can seek
redregs for the harm caused to them by Great Southern.

101. Because plaintiffs seek injunctive relief and
corresponding declaratory velief for the entire Class, the
prosecution of separate actions by individual Class Members would
create a risk of inconsistent ox varying adjudications with respect

to individual Members of the Class which would establish

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incompatible standards of conduct far Great Southern. Further,
adjudications with respect to individual Class Members would, as a
practical matter, be dispositive of the interests of other Class
Members whe are not parties to the adjudication and may impair and
impede their ability to protect their interests.

XT, CAUSES OF ACTION

A. FIRST CAUSE OF ACTION
(Breach of Contract)

102. Plaintiffs repeat and reassert the allegations contained
in the paragraphs above ag if fully set forth herein.

102. Great Southern entered inte express contracts with
policyowners to provide specified life insurance benefits in
accordance with the terms and conditions of those Policies. These
Policies were drafted by Great Southern as adhesion contracts in
which the prospective policyowner had no bargaining power as Lo the
terms of the Folicy.

104. Great Southern expressly stated in its contract of
insurance that interest crediting rates would be determined based
on "khe Company's expectation of future interest rates." Great
Southern breached this policy term by using numerous actuarial
manipulations, other than its expectations of future interest
rates, to set the interest crediting rates on these Policies.
Those actuarial manipulations included direct recognition, use of
teager rates, use of undisclosed interest margin increases, changes

from portfolio to New Money investment accounting; improper

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imposition of the DAC tax 45 a reduction in interest crediting
rates, and others as described above.

105. Similarly, Great Southern expressly stated in its
contract of insurance that its cost of insurance rates would he
determined based on “the Company's expectation of future mortality
experience." Great Southern preached its policy texms by using
numerous actuarial manipulations other than its expectation of
future mortality experience, to set the rates on these Policies,
including its undisclosed use of the ‘R-Factor" and the imposition
of the DAC tax through increased cost of insurance charges.

106, The insurance Policies delivered by Great Southern to
plaintiffs and Class Members after the sale of the Policies are not
complete integrations of the underlying agreements. The form
insurance Policies, which were Arafted by Great Southern, are
contracts of adhesion that were neither negotiated nor barqained
for by the parties. The Policies are cast in vague and ambiguous
language that is incomprehensibie to ordinary consumers, do not
address or set forth all of the terms of the underlying agreements
and were not intended as 2 complete integration of the parties'
agreements. Great Southern knew and expected that policyowners
would rely on the Policy jllustrations as encapsulating the key
Policy terms and how the Policy would operate.

107. The agreements between Great Southern and plaintiffs and
Class Members consist of: (a) the written Bolicy illustrations
provided to Plaintiffs and Class Members by Great Southern; (ob) the

other uniform written xepresentationa made to plaintifts and Class

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Members by Great Southern; and {c) the Policy applications,
Policies, riders and other preprinted forms drafted by Great
Southern.

108. Great Southern materially breached and repudiated its
duties under the agreements with plaintiffs and Class Members by,
inter alia:

fa) demanding that plaintiffs ard Class Members pay
premiums in addition to those reguirad by the terms of their
agreements with Great Southern;

(6} depleting and veducing the cash values, death
benefits and other values of plaintiffs' and Class Members '
Policies to levels less than promised under their agreements with
Great Southern;

fe) terminating and/or threatening to terminete
plaintiffs’ and Class Members! Policies notwithstanding their
payment of all out-of-pocket premiums required by their agreements;

(d) changing the terms and conditions of new Policy
contracts by berrowing against, surrendering of discontinuing
existing policies in connection with the purchase of the new
Policies;

(e) changing the terms and conditions of Policy
contracts by employing the concept of direct recognition, thereby
reducing the dividends and/or interest rates earned by the Policy

and breaching the loan interest rate provision;

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(f) changing the terms and conditions of the Policy by
applying investment plan payments and costs associated with the DAC
tax to the costs and charges of life insurance; and

iq} changing the terms and conditions of Policy
contracts through the use of other actuarial manipulations such as
tue R-Factor,

108. Tn comnection with the Policies issued to plaintiffs and
Class Members, an implied covenant of gocd faith and fair dealing
existed, and continues to exist, such that Great Seuthern impliedly
covenanted that it would do nothing to impair or frustrate the
rights of plaintiffs and Class Members to receive the benefits they
had been promised.

110, By Eailing to dieclose meterial facts adversely affecting
those benefits, Great Southern breached the implied covenant of
good faith and faix dealing it owed Co plaintiffs and Class
Members. |

1ll. Plaintiffs and Class Members performed their contractual
obligations by meking the cash premium payments required under
their agreements with Great Southern.

1i2. As a result of Great Southern's breach of the implied
covenant of good faith and fair dealing, Creat Southern has
wrongfully received, and continues to wrongfully receive,
substantial benefits consisting of millions of dollars in
additional premiums and commissions. In addition, given the unique
nature of the Policies and the cexresponding benefits to plaintiffs

and the Class, a decree of specific performance is appropriate.

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113. By reason of the foregoing. plaintiffs and Class Members
have been harmed and damaged in an amount to be determined at the
trial in thig action.

B. SECOND CAUSE OF ACTION
{Violation of Tex. Bus. & Comm. Code §817.46 (a)
and {b){5), (9) amd (23})

114. Plaintiffs repeat and reassert the allegations contained
in the paragraphs above as if fully set forth herein,

116. Plaintiffs and Metbers of the Class are "consumers" under
Tex. Bus. & Comm. Code §17.45(4).

116. The transactions involving the sale cf insurance that are
the subject of this lawsuit involve "services" under Tex. Bus... &
Comm, Code §17.45(2).

117. Great Sovthern has violated Tex. Bus. & Comm. Code
817.46(e) and (b) (5), (9) and (23), wnich prohibits "{flalse,
misleading, or deceptive acts or practices in the conduct of any
trade or commerce . . . [involving] representing that goods or
gervices have sponsorship, approval, characterisbics
benefits, or quantities which they do not have* ({b) (5));
"advertising goods or services with intent not (to sell them as
zdvartised" ((b)(9)); and “failfing] to disclose information
concerning goods or services which wag known at the time of the
transaction if such failure to disclose such information waé
intended to induce the conaumer into a transaction into which the

consumer would not nave entered had the information been disclased"

( {by {23)).

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118. Great Southern's misrepresentations and omissions of the
material Facts set forth above defrauded plaintiffe and Members of
the Class in viclation of Tex. Bus. & Comm. Code §§17.46{a) and
(b) (5}, (9) and (23) in at least the following manner:

(a) Great Southern's acts and practices constitute
misrepresentations that its insurance products gold to plaintiffs
and the Class have characteristics, benefits oy uses which they do
not have;

(>) Great Southern advertised its insurance products to
plaintiffs and the Class with the intent not to géll them as
advertised; and

(c) Great Southern has failed to disclose material
information concerning its insurance products to induce plaintiffs
ang the Class to purchase the insurance products which plaintifis
and the Class would not have purchased if the information had been
disclosed.

119. Great Southern's wrongful conduct was a producing cause
of the damages suffered by plaintiffs and the Class in an amount te
be determined at trial.

120. Piaintiffs seek all appropriate relief, including
equitable and provisional remedies to the extent their remedy at
law is inadequate and to prevent irreparable harm.

Cc. THIRD CAUSE OF ACTION
(Fraud, Fraudulent GConeealment and Deceit)

121. Plaintiffs repeat and reassert the allegations contained

in the paragraphs above as if fully set ferth herein.

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122. Great Southern knowingly or recklessly failed to disclose
waterial information to plaintiffs and Class Members that it was
under a duty to discloge.

123. For exanole, Great Southern's uniform Policy
illustrations, and marketing materials failea to disclose even the
most fundamental facts and information concerning the mechanics and
performance of its Policies. veat Southern failed tc disclose,
inter alia, that:

fa) based on Creat Southern's actuarial manipulations,
che cash value, dividends, interest earned and other Policy
benefits a volicyowner would realize under the Policy will be
substantially less than represented and sold;

(b) the accual number of out-of-pocket premium payments
a policyowner would have to pay for his or nez Policy would be
substantially greater than promised;

(ec) the representations cf Policy performance, including
vanisn gates, were based on artificially manipulated interest
crediting rates and dividend scales that were inconsistent with
Great Southern's ¢urrent or projected earnings and investment
experience and lacked any reasonable phasis in fact;

ld) the Policy illustrations were based on expense,
mortality and other assumptions that did not reflect Great
Southern's Current or anticipated experience and lacked any
reasonable basis in fact;

(e) the assumptions underlying the representations of

Policy performance were inconsistent with Great Southern's own

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internal forecasts, estimates, analyses or projections of thease
same factors;

(f) the vanishing premium Policies would not pay for
themselves as represented, illustrated and promised by Great
Southern;

(g) Great Southern dia not intend to and did not credit
interest ta the Policies in accerdance with the terms or the
contract and did not intend to and did nor Maintain the
artificially high interest crediting rates and/or dividend scales
necessary to fund the Policies as illustrated;

(h) the interest and dividends payable under the
Policies were extremely sensitive to undisclosed actuarial factors
ineluding interest rates, Great Southern's investment portfolio,
competition, Great Southern's profit plans, expense and mortality
experience, the “R-Factor,” persistency bonuses ard lapse rates;

(i) Great Southern's portfolio contained numerous
investments having a substantial exposure to interest rate risks,
and that nominal reductions in market interest rates would require
Great Southern to reduce disproportionately the interest rates
and/or Gividend scales payable on the Policies;

(j} Great Southern knew that the dividend scales and
interest rates payable to policyowners would be materially less
than the rates projected in the uniform Policy illustrations and
representations made to policyowners;

(<) Great Southern wag manipulating its costs of

ingurance by an undisclosed "R-Factor" in order to extract its

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profit on each Policy in the early years of the Policy and to
disguise increases in mortality expenses;

“ay Great Southern knew that nominal deviations from the
assumed performance of any of the various factors bulit into the
volicies would have a devastating impact on the performance of the
Policy and, for vanishing premium Policies, on the ability cf the
Policy's out of pocket premiums to vanish; and

(m) Great Southern knew that the dividend scales and
interest rates payable te policyowners would be materially Jess
than the rates projected in its Policy iilustrations and/or
represented to policyowners at the time of gale and the resulting
negative impact on Policy values, performance and premium paying
periods.

124, Bt the time that Great Southern made these omissions of
fact and others, alleged throughout this Complaint, it knew these
omissions made its representations false, or made chem in reckless
disregard for their truth or falsity. Great Southern knew such
information was material and knew that such information was not
disclosed. Moreover, Great Southern had a duty to plaintiffs and
Class Members to disclose such facts, and te ensure that all of its
statements and representations were complete, truthful and not
false or misleading.

125, Creat Southern intended for plaintiffs and Class Members
to rely on the foregoing omissions of faqt, based on the method and
manner of the sales presentations as set forth throughout this

Complaint. Great Southern had many opportunities to disclose and

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correct the materially misleading information, yet Great Southern
elected to continue on its course in order to sell more Policies,
and maintain them in force, to increase profitability and maintain
a compatitive position.

1296. Plaintiffs and Class Members were unaware that Great
fSouthern's repregentaétions were false and that it had not disclosed
material information. Plaintiffs and Class Members reasonably
relied on Great Southern's representations, acted on them to their
detriment by purchasing the Policies and continuously making
substantial premium payments. Plaintiffg and Class Members were
unaware of Great Sonuthern's material misrepresentations and
nondisclosureg, and could not have discovered them through
reasonable diligence as a result of Great Southern's conduct in
fraudulently concealing its wrongdoing, as described more fully
elsewhere in this Complaint.

127, By reason cf the foregoing, plaintiffs and Class Members
have been harmed and are entitled to compensatory and punitive
damages in an amount to be determined at the trial of this action.

dD. FOURTH CAUSE OF ACTION
(Unjust Enrichment)

128. Plaintiffs repeat and reassert the allegations contained
in the paragraphs above as if fully set forth herein,

129. Defen@ants received from plaintiffs and Class Mambars
premiums and interest in excess of those to which they were

entitled under the termes of the insurance contract.

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130. As a result, Great Southern will be unjustly enriched if
it is allewed te retain such fonds. Plaintiffs and Class Members
are entitled to restitution of all monies wrongfully obtained by
Great Southern.

131, Plaintiffs and Class Members have no adequate remedy at
law.

132. As a result of the relationships between the parties and
the facts as stated above, 4a constructive trust should be
established over the monies paid by plaintiffs anc Class Members,
including Policy premiums, sales loads, Policy service charges and
other expenses and fees charged by Great Southern. Such monies are

traceable to Great Souchern, which 4s the current possessor of sucn

funds.
E. FIFTH CAUSE OF ACTION
(Declaratery and Injunctive Relief -- Breach of
Contract)

 

133. Plaintiffs repeat. and reallege the allegations contained
in the paragraphs above as if fully set forth herein,

134. As stated above, Great Southern, through its agents,
affirmatively represented, and continues to represent, through
written Policy illustrations, that rhe owt-of-pocket premiums on
Policies sold pursuant to the vanishing premium sales practice
would vanish at a date certain {either at the inception of the
Policy where a lump-sum prepayment of premiums is made, or after 4
limited number of years where the Policy illustration requires
payment of out-of-pocket premiums for a specific number of years).

Great Southern continues to charge premiums to purchasers of such

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Policies after the "vanish date." In addition, Great Southern
continues to collect premiums keyond those promised and
i2tiustrated. If such premiums are not paid as charged, Great
Southern terminates or threatens to terminate the Policies. Great
Southern continues to induce existing policyowners to replace their
existing policies with new Policies, without disclosing material
information coneerning the detriment to policyowners and the
benefits to Great Southern. Finally, Great Southern continyes ta
represent to purchasers of its Policies that they are purchasing
retirement/investment plans while downplaying the fact that they
ave purchasing life insurance Policies.

435. Plaintiffs, on behaif of themselves and the Class, seek
a judgment declaring that Great Southern must provide Policy
benefits consistent with its uniform gales presentations, Policy
illustrations and Policy terms.

136. Plaintiffs, for themselves and on behalf of Class Memsers
seek injunctive relief enjoining Great Southern from:
(a) terminating the Policies of any policyowners who fail or refuse
to pay the premiums past the “yanish date" or ag otherwise promised
or shown in the Policy illustration given to the policyowner at the
time of sale; (b) from demanding additional out-of-pocket premiums
from policyowners beyond the date Set forth in the Policy
illustrations provided to policyewners at the time of sale;
(c) soliciting policyowners to replace existing policies with new
Policies without adequate disclosure concerning the detriments of

replacement to the policyowners and the benefits reaped by Great

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Southern due to replacement; and (4) soliciting plaintiifs end
Class Members to purchase its Policies based upon the
retirement/investment plan sales scheme disclosed herein.

137. Plaintiffs and Class Members have no adequate remedy at
Jaw,

138. By reason cf the forecoing, plaintiffs and Class Members
are entitled to declaratory and injunctive relief as set forth
above.

F. SIXTH CAUSE OF ACTION
(Reformation)

139. Plaintiffs repeat and reallece the allegations contained
in the paragraphs above, as if fully set forth herein.

140. As alleged herein, Great Southern promised plaintiffs and
Class Members that they woulé need to make out-of-pecket premium
payments for only a astateag number of years (either prepaid at the
inception of the Policies or paid annually for a limited number of
years), amd thereafter the Policies would pay for themselves
without any additional out-of-pocker premium payments from
plaintiffs or Class Members, and that the Policies would continue
ro accrue substantial cash and surrender values and death benefits
over the life of the Policies.

141. Ag alleged herein, Great Southern bromised plaintitts and
Class Members that they could purchase new and more beneficial
Policies uging the excess value and acexued dividends of their
existing policies, without needing to deplete the value of or incur

a loan against the existing policy.

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142. As alleged herein, Great Southern promised plaintiffs and
Class Members that they could purchase recirement or savings plan
products that had no, oF only an insignificant Life ingurance
component .

443. The Policies delivered to plaintiffs and the Class by
Great Southern after the contracts had 2lready been entered inte
and partially and/or fully performed do not contain contractual
provisions getting Forth the parties’ agreeménts, a5 alleged above.

144. As alleged herein, the Policies were procured by
plaintiffs and Class Members from Creat Southern as a result of its
promises, fraudulent and negligent misrepresentations, fraudulent
concealment and constructive Fraud. Ti addition, to the extent
there are any differences between the respective expectations and
underscending of the parties, these differences are the result of
= mutuel mistake of fact, Finally, the reasonable expectaticns of
plaintiffs and Class Members concerning the Policies are not set
forth in the written Policies.

145. AS a result of the feregoing, plaintiffs and Class
Members are entitles to equitable reformation of the Policies, to
provide Lor the respective rights and duties agreed to by the
parties.

G. SEVENTH CAUSE OF ACTION
(Negligent Sunervision)

146. Plaintiffs repeat and reallege the allegations contained

in the paragraphs above, as if fully set forth herein.

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147, Great Southern owed plaintiffs and the Class a duty to
act with reasonable care in retaining, training and supervising its
agents. Specifically, Great Seythern breached its duties to
plaintiffs and the Class by failing, inter alla, te supervise its
agents‘ conduct in selling Great Southern's policies; Co ensure
what the sales were conducted in accordance with the law; to énsure
that the agents fully disclosed all material facts and did not omit
sucn facts ta the Class in conducting such sales; and to use
reasonable care, skill and judgment in the gale of Great Southern's
life insurance Policies. Great Southern could have reasonably
foreseen that a failure to exercise such care would cause injury to
the Class.

148, With full knowledge of the scheme being conducted, or
with intentional ox negligent ignorance of that scheme, Great
Southern, througn its management, wecklessly and/oz negligently
failed to prevent, discourage or halt ivs agents from engaging in
guch deceptive sales practices.

149. Thus, Great Southern recklessly, wantonly and/or
negligently failed to properly educate, supervise, regulate and
discipline its agents, including the agents who dealt with the
named plaintiffs herein.

150. As a direct and proximate result of the foregoing,

plaintiffs and the Class have been damaged.

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XII. PRAYER FOR RELIEF

WHEREFORE, plaintiffs, on behal= of themselves and on behalf
of the Class defined herein, pray for judgment and relief as
Follows:

l. An order certifying that the action may be maintained as
a class action pursuant to Rule 23b(2) and (3) of the Federal Rules
of Civil Procedure;

2. Awarding compensatory damages in an amount to be proven
at trial, including any damages as may be provided for by statute;

3. An order yrequirirg disgorgemens and/or imposing a
constructive trust upon or an attachment or impounding of Great
gouthern's ill-gotten monies and/or freezing Creat Southern's
assets and requiring Great Southern to Bay restitution to
plaintiffs and all Class Members and te restore all funds acquired
by means of any act or practice declared by this Court to be
uniawtul or fraudulent;

4, Granting extraordinary equitable and/or injunctive relief
as permitted by law, equity or statutory provisions sued hereunder,
including specific performance, reformation and imposition of a
constructive trust upon or otherwise restricting the proceeds of
Great Southern's ill-gotten funds to ensure plaintiffs and Class
Members have an effective remedy;

B. nward of reasonable costs and disbursements incurred in
connection with this action, including reasonable expenses and
attorneys! fees, expert witness fees and other costs:

6. Award pre- and post-judgment interest; and

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7. Such other and further relief as the Court deems just and

proper.
JURY DEMAND
Plaintiffs, on behalf of themselves and all others similarly
situated, hereby demand a4 trial by jury on all issues triable at

law.

DATED: March Z } 2001
TEDERMAN, L.L.P.

Bag FS

TEPHEN L. FUBBARD en
STATE BAR NO.10140500

ROBERT W. BIEDSRMAN

STATE BAR NO. 02301050

DAVID M. GROSSMAN

STATE BAR No. 00787598

1717 Main Street, Suite 4700
Dallas, Texas 75201

(214) 367-6000

(214) 857-6001 (fax)

   

MILBERG WEISS BERSHAD
HYNES & LERACH LUP
JOHN J. STOTA, JR.
ANDREW W. EUTTON
TIMOTHY G. BLOOD
LESLIE E. HURST
600 West Broadway, Suite 1800
San Diego, CA 92101
Telephone: 619/231-1058

MILBERG WEISS BERSHAD
HYNES & LERACH LUP

MELVYN I. WEISS

BARRY A. WEPRIN

BRAD N. FRIEDMAN

One Pennsylvania Dlaza

New York, NY 10119-0165

Telephone: 212/594-5300

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JAMES, HOYER, NEWCOMER, FORTZS
& SMILJANTCH, P.A.

W, CHRISTIAN HOYER

JOHN R. NEWCOMER

JUDY S. HOYER

One Urban Centre, Suite 1¢7

4830 West Kennedy Blvd.

Tampa, FL 33609

Telephone: 813/286-4100

ARNZEN, PARRY & WENTZ, P.5.C.
RONALD R. PARRY

128 East Second Street
Covington, KY 41011
Telephone: 606/431-6100

SCHIFFRIN & BARROWAY, LLP
RICHARD §. SCHIFFRIN
Three Bala Plaza East
Suite 400

Bala Cynwyd, PA 19004
Telephone: 610/667-7706

BONNETT, FAIRBOURN, FRIEDMAN
& BALINT, PC.

ANDREW §. FRIEDMAN

FRANCIS of. BALINT, oR.

4041 N, Central Avenue

Suite 1100

Phoenix, AZ $§5012-3311

Telephone: 602/274-1100

BHONNETT, FAIRBOURN, FRIEDMAN
& BALINT, P.¢c.

H. SULLIVAN BUNCH

57 Carriage Hill

Signal Mountain, TN 37377

Telephone: 423/886-9736

COODKIND LABATON RUDOFF

& SUCHARGW, LLP
EMILY C. KOMLOSSY
PETER H. RACHMAN
International Building
2455 F. Sunrise Blvd.
Suite 813
Fort Lauderdale, FL 33304
Telephone: 954/630-1006

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COODKIND LABATON RUDOFF

& SUCHAROW, LLP
IRB, A. SCHOCHET
100 Park Avenue, 12th Floor
New York, NY 10017-5563
Telephone: 212/907-9700

LAW OFFICES OF LAURENCE D.
PASHOWLTZ

LAURENCE D. PASKOWITZ

a7-45 Queens Blvd., lith Floor

Rego Park, N¥ 19017-5563

Telephone: 716/830-6330

MOCRE, LANDREY, LLP

ETEAN L. SHAW

490 Park Street, Suite 550
Beaumont, TX 77701
relephone: 409/835-3891

WHATLZY DRAKE, LLC
CHARLENE CULLEN

JOE R. WHATLEY, JR.
RUSSELL JACKSON DRAKE

895 North 20th Street

1100 Financial Center
Birmingham, Ab 35203-2605
Telephone: 205/328-9576

PARSONS & SUTTON

WILLIAM CAMERON PARSCNS
601 Greensbhore Avenue
Suite 700

Tuscaloosa, AL 35401
Telepnone: 205/349-5500

Attorneys for Plaintiffs

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CERTIFICATE OF SERVICE
i hereby certify that a true and correct copy of the foregoing
was served via hand delivery, on this sa? day of March, 2001, on
the following:
Edwin R. DeYoung, Eeq-
Roger B. Cowie, Esq.
Locke, Liddell & Sapp LLP

2200 Ross Avenue
Dallas, TH 75201

M. Gros#man

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